Case 6:20-bk-02159-LVV   Doc 1   Filed 04/10/20   Page 1 of 48
Case 6:20-bk-02159-LVV   Doc 1   Filed 04/10/20   Page 2 of 48
Case 6:20-bk-02159-LVV   Doc 1   Filed 04/10/20   Page 3 of 48
Case 6:20-bk-02159-LVV   Doc 1   Filed 04/10/20   Page 4 of 48
Case 6:20-bk-02159-LVV   Doc 1   Filed 04/10/20   Page 5 of 48
Case 6:20-bk-02159-LVV   Doc 1   Filed 04/10/20   Page 6 of 48
Case 6:20-bk-02159-LVV   Doc 1   Filed 04/10/20   Page 7 of 48
Case 6:20-bk-02159-LVV   Doc 1   Filed 04/10/20   Page 8 of 48
Case 6:20-bk-02159-LVV   Doc 1   Filed 04/10/20   Page 9 of 48
Case 6:20-bk-02159-LVV   Doc 1   Filed 04/10/20   Page 10 of 48
Case 6:20-bk-02159-LVV   Doc 1   Filed 04/10/20   Page 11 of 48
Case 6:20-bk-02159-LVV   Doc 1   Filed 04/10/20   Page 12 of 48
Case 6:20-bk-02159-LVV   Doc 1   Filed 04/10/20   Page 13 of 48
                    Case 6:20-bk-02159-LVV    Doc 1    Filed 04/10/20   Page 14 of 48
100 PRATT ST. VENTURE, LLC         Garrison Loan Agency Service         Orange County Tax Collector
PO BOX 780462                      Attn: Portfolio Manager              301 S Robinson Avenue
Philadelphia, PA 19178-0462        1290 Ave of Americas Ste 914         Orlando, FL 32801
                                   New York, NY 10104
AMERICAN EXPRESS PCARD                                                  Paul, Weiss, Rifkind, et al
1801 NW 66TH AVE. STE 103C         Garrison Loan Agency Service         Attn: S. Koo or D. Klein
Fort Lauderdale, FL 33313-4571     Attn: Legal Department               1285 Avenue of the Americas
                                   1290 Ave of Americas Ste 914         New York, NY 10019-6064
Bugatti Merger Sub, Inc.           New York, NY 10104
420 S. Orange Ave., Ste. 900                                            PRODUCE ALLIANCE LLC
Orlando, FL 32801                  GULFSTREAM PARK RACING               PO BOX 7762
                                   ATTN: ACCTS RECEIVABLES              Carol Stream, IL 60197-7762
C.H. ROBINSON COMPANY, INC         901 S. FEDERAL HWY
P.O. BOX 9121                      Hallandale, FL 33009                 PROFORMA
Minneapolis, MN 55480-9121                                              6341 NICHOLAS DRIVE
                                   HINES GLOBAL REIT                    Columbus, OH 43235
Chapman & Cutler LLP               4875 TOWN CENTER LLC
Attn: Anthony DiGiacomo, Esq       P.O. BOX 742632                      ROUSE - PARK MEADOWS, LLC
1270 Ave of Americas 30th FL       Atlanta, GA 30374-2632               P.O. BOX 86
New York, NY 10020                                                      Minneapolis, MN 55486-3096
                                   Holland & Knight LLP
CHERRY HILL TOWN CTR PARTN         Attn: Eric W. Kimiball               Tribal Casino Gaming Enterpr
1260 SHELTON ROAD                  200 Crescent Court, Ste 1600         P.O. Box 1955
ATTN: SHOSHANA MAGDIELI            Dallas, TX 75201                     Cherokee, NC 28719
Piscataway, NJ 08854
                                   Internal Revenue Service             TYSONS CORNER CENTER
City National Bank                 Centralized Insolvency Ops           P.O. BOX 849554
Attn: Portfolio Manager            PO Box 7346                          Los Angeles, CA 90087-9554
555 South Flower St, 24th FL       Philadelphia, PA 19101-7346
Los Angeles, CA 90071                                                   WEST FARMS MALL, LLC
                                   K&L Gates LLP / Rua Iguatemi         PO BOX 67000
City National Bank                 151 conjunto 281                     DEPT 55501
Attn: Managing Counsel             S o Paulo - SP, 01451-011            Detroit, MI 48267-0555
555 South Flower St, 24th FL       Brazil
Los Angeles, CA 90071                                                   035 WASTE INDUSTRIES
                                   Lucas Santos Rodas                   P.O. BOX 791519
DOLPHIN MALL ASSOCIATES            Av Brig. Faira Lima                  BALTIMORE, MD 21279-1519
PO BOX 6700                        2601 - CJ. 42
DEPT 189501                        Sao Paulo - SP - 01452-924           100 PRATT ST. VENTURE, LLC
Detroit, MI 48267-1895             Brazil                               P.O. BOX 780462
                                                                        PHILADELPHIA, PA 19178-0462
EASTON TOWN CENTER LLC             MICHAEL'S FINER MEATS
L-3769                             29037 NETWORK PLACE                  168TH AND DODGE L.P.
Columbus, OH 43260-3769            Chicago, IL 60673-1290               P.O. BOX 94133
ESIS Customer Service                                                   LAS VEGAS, NV 89193-4133
P.O. Box 15054 #1275 3-E           OHIO TREASURER OF STATE
Wilmington, DE 19850               180 E. BORAD STREET                  3343 BAILEY LOCK AND ALARM
                                   Columbus, OH 43215                   dba SUBURBAN LOCK AND KEY SERV
FAIRFAX COMP OF VIRGINIA                                                3122 DELAWARE AVE.
P.O BOX 67000                      OPEN TABLE INC                       KENMORE, NY 14217
DEPT 56501                         29109 NETWORK PLACE
Detroit, MI 48267-0565             Chicago, IL 60673-1291
                  Case 6:20-bk-02159-LVV   Doc 1    Filed 04/10/20   Page 15 of 48
A 1 SEWER & SEPTIC SERVICE       ABC FIRE EQUIPMENT CORP             ADP, INC
1891 MERRIAM LANE                5370 JAEGER RD                      ATTN VALERIE RODRIGUEZ
KANSAS CITY, KS 66106            NAPLES, FL 34109                    400 COVINA BLVD
                                                                     SAN DIMAS CA 91773
A BETTER VIEW                    ABC FIRE EXTINGUISHER CO
4017 JUNIPER DRIVE               4641 PEOPLES RD                     ADT SECURITY SERVICES, INC
HUNTSVILLE, AL 35810             PITTSBURGH, PA 15237                P.O. BOX 371378
                                                                     PITTSBURGH PA 15250-7878
A CLEAN SLATE                    ABOVE AND BEYOND PLUMBING
520 AIRPORT DRIVE NW             P.O. BOX 2065                       ADVANCE BUILDING CARE COPR
SUITE A-9                        KELLER, TX 76244                    P.O. BOX 1806
ALBUQUERQUE, NM 87121                                                TUSTIN CA 92780
                                 ABQ UPTOWN LLC.
A CLEAR VIEW WINDOW              7065 SOLUTION CENTER                ADVANCED DISPOSAL-HARTLAND
CLEANING, LLC.                   CHICAGO, IL 60677-7000              PO BOX 74008053
P.O. BOX 502                                                         CHICAGO IL 60674-8053
NEW FREEDOM, PA 17349            ABSOLUTE CLEANING SERVICE
                                 5015 DINSMORE ROAD                  ADVANCED MECHANICAL PLUS,
A DU-ALL SEWER & DRAIN SER       WEST CARROLLTON, OH 45449           206 N. CENTRAL AVE.
514 S. EAST COAST ST.                                                LIMA OH 45801
LAKE WORTH, FL 33460             ACCENT DRAPERIES
                                 1180 GOODALE BLVD                   AFCO
A RUDI CUELLAR LOCK CO INC       COLUMBUS, OH 43212-3731             P.O. BOX 360572
2 SOUTH ORANGE AVENUE                                                PITTSBURGH PA 15250-6572
GARAGE UNIT 2                    ACCUPRO AUDIO VIDEO INC
ORLANDO, FL 32801                3541 #B ALKIRE RD.                  AGGRESIVE APPLIANCES
                                 GROVE CITY, OH 43123                617 Mercy Drive
A TECH-TCI, INC.                                                     Orlando, FL 32805
P.O. BOX 3597                    ACCUTECH RESTORATION &
DES MOINES, IA 50323-0597        REMODELING, INC.                    AIR COMFORT REFRIGERATION
                                 2227 RIVER RIDGE DRIVE              20 BROOKLYN AVENUE
A.MAESTRANZI SONS KNIFE SV       SARASOTA FL 34239                   MASSAPEQUA, NY 11758
1031 LUNT AVE.
SCHAUMBURG, IL 60193             ACE LOCK SERVICE, INC.              AIR FILTER ENGINEERS USA L
                                 P.O. BOX 11726                      489 MISSION ST.
A-1 DECON INC                    JACKSONVILLE FL 32239               CAROL STREAM, IL 60188
1048 TORNGAT COURT
VIRGINIA BEACH, VA 23454         ACHS, JACOB                         AIR FILTER PLUS INC.
                                 1732 DUTCHESS AVE                   1205 CARDINAL DRIVE
AAA WASTEWATER SERVICES, INC.    KETTERING OH 45420                  EUDORA, KS 66025
3677 ANTHONY LANE
FRANKLIN, OH 45005               ACTION PLUMBING, INC.               AIR FORCE ONE INC
                                 7 EAST STOW ROAD                    5810 SHIER RINGS ROAD
AATA LLC                         MARLTON NJ 8053                     DUBLIN, OH 43016-1236
2811 LITTLE YORK RD
DAYTON, OH 45414                 ADOPT-A HIGHWAY MAIN. CO.           AIR SERVICE, INC
                                 3158 RED HILL AVE                   1964 W 9TH STREET
ABC                              SUITE #200                          WEST PALM BEACH, FL 33404
115 N CEDAR                      COSTA MESA CA 92626
GREENSBORO, NC 27401                                                 AIRECOM
                                                                     6171 HUNTLEY ROAD
                                                                     SUITE E
                                                                     COLUMBUS, OH 43229
                  Case 6:20-bk-02159-LVV   Doc 1   Filed 04/10/20   Page 16 of 48
                                 ALL STAR FIRE PROTECTION           ALSCO AUSTIN
AIRE-RITE AIR CONDITIONING       4725 LUMBER NE, SUITE 5            1340 E. BERRY ST
15122 BOLSA CHICA STREET         ALBUQUERQUE, NM 87109              FORT WORTH, TX 76119
HUNTINGTON BEACH, CA 92649
                                 ALL STATES MALL SERVICES           ALSCO KNOXVILLE
AIRGAS NATIONAL CARBON.          C/O PROCESSING CENTER              2612 WESTERN AVE
P.O. BOX 602792                  PO BOX 900                         KNOXVILLE, TN 37921
CHARLOTTE, NC 28260-2792         NORTH SCITUATE, RI 2857
                                                                    ALSCO ROCHESTER
AIS COMMERICAL PARTS &           ALL STATES RENTALS INC             548 ST PAUL STREET
SERVICE, INC.                    C/O PROCESSING CENTER              ROCHESTER, NY 14605
1005 PARKWAY VIEW DRIVE          PO BOX 900
PITTSBURGH, PA 15205-1214        NORTH SCITUATE, RI 2857            ALSCO, INC.
                                                                    10402 LAKERIDGE PKWY
AJJ ENTERPRISES, INC.            ALL TOWN AND COUNTRY SEPTIC        SUITE 600
P.O. BOX 22267                   TANK SERVICE, INC                  ASHLAND, VA 23005
KNOXVILLE, TN 37933-0267         3500 S HAMETOWN ROAD
                                 NORTON, OH 44203                   ALSCO, INC.
AKIKI LAWN CARE, LLC                                                30 MCCULLOUGH DRIVE
1625 CHESTNUT BLVD.              ALLEGIS GROUP HOLDINGS, IN         NEW CASTLE, DE 19720
CUYAHOGA FALLS, OH 44223         3689 COLLECTION CTR. DRIVE
                                 CHICAGO, IL 60693                  AMBROSI BROS CUTLERY CO.
ALABAMA ABC BEVERAGE                                                3023 MAIN
STORE #192                       ALLIANCE MECHANICAL SERVIC         KANSAS CITY, MO 64108
220 WEST OXMOOR RD               100 FRONTIER WAY
BIRMINGHAM, AL 35209             BENSENVILLE, IL 60106              AMEREN MISSOURI
                                                                    PO BOX 66529
ALABAMA POWER                    ALLIANCE SAFETY AND FIRE           ST LOUIS, MO 63166-6529
PO BOX 242                       PROTECTION LP.
BIRMINGHAM, AL 35292             6 INDIAN MEADOWS DR #600           AMERICAN ELECTRIC POWER
                                 ROUND ROCK, TX 78665               850 TECH CENTER DR
ALADCO LINEN SERVICES                                               GAHANNA, OH 43230
P.O. BOX 151                     A-LOT-A-CLEAN, INC.
ADAMS, MA 1220                   P.O. BOX 284                       AMERICAN ENVIRONMENTAL SEP
                                 LEE'S SUMMIT, MO 64063             SYSTEMS INC.
ALBUQUERQUE FLORIST INC                                             10650 LOCK 17 RD.
3121 SAN MATEO NE                ALPHA & OMEGA RESTAURANT           ADGER, AL 35006
ALBUQUERQUE, NM 87108            P.O. BOX 26141
                                 SCOTTSDALE, AZ 85255               AMERICAN EXPRESS PCARD
ALL EVENT RENTAL, LLC.                                              ATTN: US PAYMENT FL
2048 BEE RIDGE RD.               AL'S UPHOLSTERY LLC.               1801 NW 66TH AVE. STE 103C
SARASOTA ,FL 34239               6616 CENTRAL AVE SE                PLANTATION, FL 33313-4571
                                 ALBUQUERQUE, NM 87108
ALL HOME REMODELING LLC                                             AMERICAN REALTY CAPITAL RETAIL ARC
334 NW 12TH AVENUE               ALSCO                              SWWCHOH001, LLC
BOCA RATON, FL 33486             10402 LAKERIDGE PKWY               OPERATING PARTNERSHIP LP
                                 SUITE 600                          ARC SWWCHOH001, LLC P.O. BOX
ALL IN GRAPHICS & PRINTING       ASHLAND, VA 23005                  847350
3455 W SUNSET RD, SUITE L                                           DALLAS, TX 75284-7350
LAS VEGAS, NV 89118              ALSCO
                                 218 W CRAWFORD AVENUE              AMERICAN RESTAURANT SERVICE
                                 TOLEDO, OH 43612                   35246 US HWY 19 N., UNIT 268
                                                                    PALM HARBOR, FL 34864
                   Case 6:20-bk-02159-LVV   Doc 1    Filed 04/10/20   Page 17 of 48
                                  APG ELECTRIC, INC.
AMERICAN WASTE REMOVAL INC        4825 140TH AVENUE NORTH             ARMANDO L. RODRIQUEZ
502 CARMONY ROAD NE               SUITE K                             9940 ARTHUR LANE APT. C
ALBUQUERQUE, NM 87107             CLEARWATER, FL 33762                SAINT LOUIS MO 63128

AMERI-CLEAN                       APPROACH LLC                        ARMSTRONG CABLE SERVICES
2420 CONCORDE DR, UNIT #6         63 W. DUBLIN GRANVILLE ROAD         PO BOX 37749
FORT MYERS, FL 33901              WORTHINGTON, OH 43085               PHILADELPHIA PA 19101-5049

AMERIGAS PROPANE LP               APS                                 ARROWEYE SOLUTIONS, INC.
5140 W BETHANY HOME               PO BOX 2906                         P O BOX 856768
GLENDALE, AZ 85301                PHOENIX, AZ 85062-2906              MINNEAPOLIS MN 55485-6768

AMERIPRIDE LINEN AND APPAR        AQUA FIRE PROTECTION                ASPEN WASTE SYSTEMS, INC.
4593 WINTERS CHAPEL ROAD          1020 E. SPRINGFIELD RD.             P.O. BOX 3050
ATLANTA, GA 30360                 HIGH POINT, NC 27263                DES MOINES IA 50316

ANGLER PLUMBING                   AQUA OHIO INC                       ASSET STRATEGIES GROUP LLC
37 DEMPSEY DRIVE                  PO BOX 1229                         501 W SCHROCK ROAD
NEWARK, DE 19713                  NEWARK, NJ 07101-1229               SUITE 201
                                                                      WESTERVILLE OH 43081
ANN RILEY                         ARAMARK UNIFORM & CAREER
100 RIVERVIEW ROAD                APPAREL GROUP, INC.                 AT&T
STEVENSVILL,E MD 21666            115 NORTH FIRST STREET              P.O. BOX 5019
                                  BURBANK, CA 91502                   CAROL STREAM IL 60197-5019
ANTHEM BCBS
PO BOX 645438                     ARAMARK UNIFORM AND CAREER          ATMOS ENERGY
CINCINNATI, OH 45264-5438         APPARELAUS MADISON MC LOCKBOX       1005 CONVENTION PLAZA
                                  25259 NETWORK PLACE                 ST. LOUIS MO 63101-1229
ANYTIME PLUMBING OF               CHICAGO, IL 60673-1252
CENTRAL FL, INC.                                                      AUBREY COMMUNICATIONS, INC
P.O. BOX 1168                     ARBORETUM MALL, LLC.                504 NORTH MACDILL AVENUE
ODESSA, FL 33556                  P.O. BOX 281637                     TAMPA FL 33609
                                  ATLANTA GA 30384-1637
ANYTIME PLUMBING, INC.                                                AVANTE NAPLES, INC.
4690 W. POST RD., STE 130         ARETE PROPERTY SERVICES LL          6266 TAYLOR RD.
LAS VEGAS, NV 89118               P.O. BOX 211339                     NAPLES FL 34109
                                  DENVER CO 80221
AP ENTERPRISES INC                                                    AVERUS SOUTHEAST, LLC.
11360 THORNBROOK DR               ARIZONA CUTLERY AND SHARPE          1425 TRI-STATE PARKWAY #160
GALENA, OH 43021-9665             SERVICES, INC                       GURNEE IL 60031
                                  12620 N CAVE CREEK ROAD #4
APC WORKFORCE SOLUTIONS LL DBA    PHOENIX AZ 85022                    B.E.S.T INC
ZEROCHAOS                                                             3003 GENESEE STREET
dba ZEROCHAOS                     ARKADIN, INC.                       BUFFALO NY 14225
420 S. ORANGE AVE. STE. 600       dba AT CONFERENCE
ORLANDO, FL 32801                 P.O. BOX 392490                     BAGAT BROTHERS
                                  PITTSBURGH PA 15251-9490            P.O BOX 20520
APEX SYSTEMS, LLC                                                     DAYTOH OH
3750 COLLECTIONS CENTER DRIVE     ARMADA HOFFLER BLOCK 8 ASSOS.
CHICAGO, IL 60693                 DIVARIS PROPERTY MANAGEMENT
                                  4525 MAIN ST. SUITE 900
                                  VIRGINIA BEACH VA 23462
                 Case 6:20-bk-02159-LVV    Doc 1     Filed 04/10/20   Page 18 of 48
BAILS & ASSOCIATES, LLC          BECKER FAMILY CORPORATION
308 SOUTHPOINT BLVD, PLAZA 2     5179 MILLER PAUL ROAD                BIGART-ECOSYSTEMS, LLC.
SUITE 120                        WESTERVILLE OH 43082                 5301 RIATA PARK COURT F
CANONSBURG PA 15317                                                   AUSTIN TX 78727
                                 BELDEN MALL, LLC.
BAKER COMMODITIES INC            LOCKBOX #5147                        BIOTECH PLUMBING SERVICE I
4020 BANDINI BLVD.               P.O. BOX 8500                        6743 THEALL ROAD, SUITE C
VERNON CA 90058                  PHILADELPHIA PA 19178-5147           HOUSTON TX 77066

BAKERS SAFE & LOCK CO.           BELFOR USA GROUP INC.                BLACKHAWK NETWORK, INC.
P.O. BOX 630129                  7100 TPC DRIVE, SUITE 450            P.O. BOX 932859
HOUSTON TX 77263-0129            ORLANDO FL 32822                     ATLANTA GA 31193

BANDERAS COMPANY, LLC            BEN E KEITH FOODS                    BootLegN LLC.
1726 CLEVELAND AVE.              ATTN: NATIONAL ACCOUNTS              P.O. BOX 536
CINCINNATI OH 45212              P.O. BOX 1441                        RIVERTON UT 84065
                                 FORT WORTH TX 76101
BAR & BEVERAGE CONTROL                                                BPC HENDERSON LLC.
dba BUCKEYE DRAFT BEER SERVICE   BENNINGTON BUSINESS ASSOC.           P.O. BOX 72006
4705 VAN EPPS ROAD               616 BENNINGTON PLACE                 CLEVELAND OH 44192-0006
BROOKLYN HEIGHTS OH 44131        CHARLOTTE NC 28211
                                                                      BREAKTHRU BEVERAGE OF DE
BAR HARBOR SEAFOOD               BERK THORNTON                        PO BOX 22592
2000 PREMIER ROW                 100 RIVERVIEW ROAD                   900 E FAYETTE ST
ORLANDO FL 32809                 STEVENSVILLE MD 21666                BALTIMORE MD 21203

BARBARA HOLT                     BERTARELLI CUTLERY INC               BRENDA CLARK
100 RIVERVIEW ROAD               1927 MARCONI                         100 RIVERVIEW ROAD
STEVENSVILLE MD 21666            SAINT LOUIS MO 63110                 STEVENSVILLE MD 21666

BARR COMMERICAL DOOR             BESTECH INC                          BRIGHT HOUSE NETWORKS
1196 N. GROVE STREET             8544 CIRCLE DRIVE                    P.O. BOX 30407
UNIT A                           NORFOLK VA 23503                     TAMPA FL 33630-3407
ANAHEIM CA 92806
                                 BFPE INTL                            BRIGHTVIEW LANDSCAPE
BARTON RESTAURANT SERVICE        PO BOX 791045                        SERVICES, INC.
13413 BRADLEY BRIDGE ROAD        BALTIMORE MD 21279-1045              P.O. BOX 31001
CHESTER VA 23831                                                      PASADENA CA 91110-2463
                                 BGE
BAYSIDE EVENT RENTALS            PO BOX 13070                         BRILAR LLC
6421 35TH STREET NORTH           PHILADELPHIA PA 19101-3070           13200 NORTHEND AVE
PINELLAS PARK FL 33781                                                OAK PARK MI 48237
                                 BIG CITY PLUMBING LLC
BDO USA, LLP                     21027 S 221ST PLACE                  BROOKS GREASE SERVICE, INC
AP DEPARTMENT                    QUEEN CREEK AZ 85142                 3104 N. ERIE AVE.
P.O. BOX 642743                                                       TULSA OK 74115
PITTSBURGH PA 15264-2743         BIG FISH HVAC, LLC.
                                 168 WAREHOUSE DR.                    BROOKS LOCK & KEY, INC.
BEACH DOOR SERVICE, INC          BUDA TX 78610                        411 6TH STREET SE
5788 ARROWHEAD DRIVE                                                  DECATUR AL 35601
VIRGINIA BEACH VA 23462          BIG O CLEAN, INC.
                                 2410 KEYSTONE DR #312
                                 OMAHA NE 68134
                 Case 6:20-bk-02159-LVV   Doc 1    Filed 04/10/20   Page 19 of 48
BROTHERS COMMERICAL CARPET      BULLITT TRUSTS/BEARGRASS R          CARL MARTIN
CLEANING, INC                   ATTN: JAMES COUCH                   1350 EAST FLAMINGO RD. #326
6015 N. HARVEY AVE.             200 S. FIFTH ST, STE 500 N.         LAS VEGAS NV 89119
OKLAHOMA CITY OK 73118          LOUISVILLE KY 40202
                                                                    CARLSON DISTRIBUTING CO. I
BROTHERS CUTLERY INC            BURR OAK GROUP, INC.                PO BOX 25057
3835 EAST 48TH AVE              dba ZIN'S PLUMBING, LLC.            SALT LAKE CITY UT 84125
DENVER CO 80216                 3827 SPRING GROVE AVE.
                                CINCINNATI OH 45223                 CART CONSTRUCTION, INC.
BROWARD MALL, LLC.                                                  1111 E. UNIVERSITY AVENUE
P.O. BOX 51066                  BUSH & ENNIS ENTERPRISES INC.       DES MOINES IA 50316
LOS ANGELES CA 90074-1066       P.O. BOX 531333
                                CINCINNATI OH 45253                 CATANESE CLASSIC SEAFOODS INC
BROWN INDUSTRIES, INC.                                              dba CLASSIC SEAFOODS
dba PRECISION PLUMBING          C.H. ROBINSON COMPANY, INC          1600 MERWIN AVENUE
P.O. BOX 2230                   P.O. BOX 9121                       CLEVELAND OH 44113
MATTHEWS NC 28105               MINNEAPOLIS MN 55480-9121
                                                                    CAUSEWAY LLC
BUCKEYE CABLESYSTEM             C.V.B. INC.                         PO BOX 54091
5566 SOUTHWYCK BLVD             dba WATER DOCTOR                    NEW ORLEANS LA 70154-4091
TOLEDO OH 43614                 P.O, BOX 3060
                                SAINT JOSEPH MO 64503               CBL & ASSOCIATES LIMITED
BUCKHEAD BEEF COMPANY                                               PARTNERSHIP
220 RARITAN CENTER PKWY         CADILLAC COFFEE CO                  CBL#0452 P.O. BOX 955607
EDISON NJ 8837                  P.O. BOX 932249                     ST. LOUIS MO 63195-5607
                                CLEVELAND OH 44193
BUCKHEAD MEAT & SEAFOOD, INC                                        CBL-SHOPS AT FRIENDLY, INC
DEPT 33                         CAPABLE ENTERPRISES                 PO BOX 5598
PO BOX 670445                   P.O. BOX 6247                       CAROL STREAM IL 60197-5598
HOUSTON TX 77267-0445           HUNTSVILLE AL 35813
                                                                    CBL-T-C LLC. WEST COUNTY MALL CMBS
BUCKHEAD MEAT OF SAN ANTONIO    CAPE BEVERAGE LLC                   LLC
PO BOX 1066                     505-A TERMINAL DRIVE                WEST COUNTY MALL CMBS LLC
DEPT 21                         RIO GRANDE NJ 8242                  P.O. BOX 746395
HOUSTON TX 77251-1066                                               ATLANTA GA 30374-6395
                                CAPREF BROOKWOOD VILLAGE L
BUDGET DOOR OF CINCINNATI       P.O. BOX 713934                     CDW DIRECT INC
633 N. WAYNE AVE.               CINCINNATI OH 45271-3934            PO BOX 75723
CINCINNATI OH 45215                                                 CHICAGO IL 60675
                                CAPTIVE-AIRE SYSTEMS, INC.
BUDGET RENT A CAR SYSTEM INC    P.O. BOX 60270                      CEILING PRO OF MIDWEST
14297 COLLECTIONS CENTER DR     CHARLOTTE NC 28260                  INDIANA, INC.
CHICAGO IL 60693                                                    1641 EAST 236TH STREET
                                CARDINAL KNIVES                     INDIANAPOLIS IN 46030
BULBMAN, INC.                   977 OLD HENDERSON ROAD
P.O. BOX 12280                  COLUMBUS OH 43220                   CENTERPOINT ENERGY
RENO NV 89510-2280                                                  23968 NETWORK PLACE
                                CAREERBUILDER, LLC.                 CHICAGO IL 60673-1239
BULBS COM INC                   13047 COLLECTIONS CENTER DRIVE
243 STAFFORD STREET             CHICAGO IL 60693-0130               CENTRAL FL WINDOW CLEANING
WORCESTER MA 1603                                                   dba FISH WINDOW CLEANING
                                                                    P.O. BOX 238117
                                                                    PORT ORANGE FL 32123
                  Case 6:20-bk-02159-LVV   Doc 1   Filed 04/10/20   Page 20 of 48
                                                                    CINTAS LOCATION G65
CENTRAL STATES SERVICES INC      CHARTER TWP OF CLINTON             P.O. BOX 630803
dba CENTRAL STATES GASKET        WATER DEPARTMENT                   CINCINNATI OH 45263-0803
PO BOX 1476                      PO BOX 553160
LAKE OZARK MO 65049              DETROIT MI 48255-3160              CIT BANK, N.A. d.b.a. COMDOC
                                                                    21146 NETWORK PLACE
CENTRAL WINDOW CLEANING IN       CHEF 2 CHEF FOODS                  CHICAGO IL 60673-1211
PO BOX 347154                    1600 MERWIN AVE.
CLEVELAND OH 44134               CLEVELAND OH 44113                 CITIZENS ENERGY GROUP
                                                                    PO BOX 7056
CENTRESCAPES, INC.               CHERRY HILL TOWN CTR PARTNERS      INDIANAPOLIS IN 46207-7056
165 GENTRY ST.                   ATTN: SHOSHANA MAGDIELI
POMONA CA 91767                  1260 STELTON ROAD                  CITY FIRE, INC.
                                 PISCATAWAY NJ 08854                5708 SW 25TH STREET
CENTURYLINK                                                         WEST PARK FL 33023-4011
BUSINESS SEVICES                 CHRISTIANA MALL LLC
P.O. BOX 52187                   P.O. BOX 86                        CITY FISH MARKET, INC.
PHOENIX AZ 85072-2187            MINNEAPOLIS MN 55486-3026          884 SILAS DEANE HIGHWAY
                                                                    WETHERSFIELD CT 6109
CERDANT, INC                     CHRISTINE SMITH
PO BOX 3204                      100 RIVERVIEW ROAD                 CITY OF ALLEN CIVIC PLAZA
DUBLIN OH 43017                  STEVENSVILLE MD 21666              305 CENTURY PKWY
                                                                    ALLEN TX 75013-8042
CGP-CPP PLAZA FRONTENAC LLC      CHURCHILL LINEN SERVICES
PLAZA FRONTENAC                  7 EVANS SREET                      CITY OF AUSTIN
P.O. BOX 86                      P.O. BOX 3247                      FDS-CONTROLLER'S OFFICE
MINNEAPOLIS MN 55486-3110        BROCKTON MA 2304                   P.O. BOX 2920
                                                                    AUSTIN TX 78768
CH WRIGHT DISTRIBUTOR CORP       CINCINNATI BELL
3 WRIGHT AVENUE                  PO BOX 748001                      CITY OF BOCA RATON
LE ROY NY 14482                  CINCINNATI OH 45274-8001           UTILITIES PROCESSING CENTER
                                                                    P.O. BOX 31042
CHAGRIN RETAIL LLC               CINTAS CORPORATION                 TAMPA FL 33631-3042
629 EUCLID AVENUE                1275 RESEARCH RD.
SUITE 1300                       COLUMBUS OH 43230                  CITY OF ENGLEWOOD
CLEVELAND OH 44114                                                  ENGLEWOOD UTILITIES DEPT
                                 CINTAS CORPORATION #018            1000 ENGLEWOOD PARKWAY
CHAMALEON ENTERPRISES INC        P.O. BOX 630803                    ENGLEWOOD CO 80110
PO BOX 15146                     CINCINNATI OH 45263-0803
PLANTATION FL 33318                                                 CITY OF FAIRLAWN
                                 CINTAS CORPORATION #430            P.O. BOX 13422
CHARLES BALL                     P.O. BOX 88005                     FAIRLAWN OH 44334
3500 MILLIKIN COURT, STE F       CHICAGO IL 60680-1005
COLUMBUS OH 43215                                                   CITY OF NORTH CANTON
                                 CINTAS FAS LOCKBOX                 FINANCE DEPARTMENT
CHARLIE MORRIS ELECTRIC INC.     P.O. BOX 636525                    145 NORTH MAIN ST
dba DIAL ONE ELECTRICAL SERVIC   CINCINNATI OH 45263-6525           CANTON OH 44720-2587
11812 N. LAMAR BLVD.
AUSTIN TX 78753                  CINTAS FIRE PROTECTION             CITY OF OKLAHOMA CITY
                                 4250 L B MCLEOD ROAD               PO BOX 26570
CHARTER COMMUNICATIONS           ORLANDO FL 32811                   OKLAHOMA CITY OK 73126-0570
P.O. BOX 60229
LOS ANGELES CA 90060-0229
                   Case 6:20-bk-02159-LVV   Doc 1    Filed 04/10/20   Page 21 of 48
CITY OF PEMBROKE PINES            CLEAN - RITE                        COLUMBIA GAS
PO BOX 269005                     dba FIRE 1                          PO BOX 4629
PEMBROKE PINES FL 33026           P.O. BOX 2829                       Carol Stream IL 60197-4629
                                  GRETNA LA 70054
CITY OF PLANTATION                                                    COLUMBUS CITY TREASURER
401 NW 70 AVENUE                  CLEAN BREEZE LLC.                   CITY INCOME TAX DIVISION
PLANTATION FL 33317               AIRE MASTER OF SOUTH FLORIDA        50 W GAY ST 4TH FL
                                  P.O. BOX 565776                     COLUMBUS OH 43215
CITY OF RANCHO CUCAMONGA          MIAMI FL 33256
10500 CIVIC CENTER DRIVE                                              COMCAST
RANCHO CUCAMONGA CA 91730         CLEAN DES MOINES                    P.O. BOX 34744
                                  1450 NE 69TH PLACE #50              SEATTLE WA 98124-1744
CITY OF RICHMOND                  ANKENY IA 50021
550 E MARSHALL ST SUITE 202                                           COMMERCIAL GREASE TRAP INC
FIRE PREVENTION DIVISION          CLEANCARE                           CLEANING CORP
RICHMOND VA 23219                 51ST & A.V.R.R.                     1535 DELOSS STREET
                                  PITTSBURGH PA 15201                 INDIANAPOLIS IN 46201
CITY OF ROCHESTER HILLS
16632 COLLECTION CENTER DRIVE     CLEANNET OF SOUTH FLORIDA           COMMERCIAL PARTS & SERVICE
CHICAGO IL 60693-6632             9861 BROKEN LAND PKWY               OF OHIO INC
                                  STE 208                             10671 TECHWOOD CIRCLE
CITY OF SCOTTSDALE                COLUMBIA MD 21046                   CINCINNATI OH 45242
7447 E INDIAN SCHOOL ROAD
SCOTTSDALE AZ 85251               CLEAR REFLECTIONS INC               COMMERCIAL REFRIGERATION
                                  7309 WALNUT CREEK DR                5739 WASHINGTON ST
CITY OF SOUTHLAKE                 OKLAHOMA CITY OK 73142-2522         NAPLES FL 34109
1400 MAIN ST
SUITE 200                         CLIMATECH, INC. - FLORIDA           COMMERCIAL REFRIGERATION
SOUTHLAKE TX 76092                200 BILMAR DRIVE                    P.O. BOX 1548
                                  PITTSBURGH PA 15205-4601            AMERICAN FORK UT 84003
CITY OF TORRANCE CALIFORNI
P.O. BOX 845629                   CMC GROUP, INC.                     COMMERCIAL WORKS INC
LOS ANGELES CA 90084-5629         12836 S. DIXIE HWY                  1299 BOLTONFIELD ST
                                  BOWLING GREEN OH 43402              COLUMBUS OH 43228-3693
CITY WIDE SEWER & DRAIN
SERVICE CORP.                     CNS ELECTRIC CO                     COMMERICAL WATER TREATMENT
P.O. BOX 350                      992 RANKIN DRIVE                    dba HANSONS WATER TREATMENT
CARLE PLACE NY 11514              TROY MI 48083                       4345 WAGON TRAIL AVENUE
                                                                      LAS VEGAS NV 89118
CITYPLACE RETAIL, LLC.            COD CAPERS SEAFOOD
P.O. BOX 865751                   1201 US HIGHWAY ONE                 COMMUNITY GREETINGS
ORLANDO FL 32886                  NORTH PALM BEACH FL 33408           PO BOX 128
                                                                      GRIMES IA 50111
Clark County Clerk                COLONIAL/WEBB CONTRACTORS
PO BOX 551604                     2820 ACKLEY AVE                     CONDITIONED AIR CORP.
LAS VEGAS NV 89155-1604           RICHMOND VA 23228                   3786 MERCANTILE AVE
                                                                      NAPLES FL 34104
CLARKE KENT PLUMBING INC          COLORADO BARS, INC
1408 W BEN WHITE BLVD.            7112 WEST JEFFERSON AVE             CONNECTICUT NATURAL GAS CORP
AUSTIN TX 78704                   SUITE 312                           PO BOX 847820
                                  LAKEWOOD CO 80235                   BOSTON MA 02284-7820
                  Case 6:20-bk-02159-LVV    Doc 1   Filed 04/10/20   Page 22 of 48
CONNECTICUT SHELLFISH CO.         CP COMMERCIAL DELAWARE, LL         D&D MARKETING GROUP. INC.
26 EAST INDUSTRIAL RD.            PO BOX 72585                       P.O. BOX 94946
BRANFORD CT 6405                  CLEVELAND OH 44192-0002            LAS VEGAS NV 89193

CONSTELLATION NEW ENERGY-G        CRAFTWORX, LLC.                    D&H WINDOW CLEANING
P.O. BOX 4640                     P.O. BOX 552                       42392 MOUND ROAD
CAROL STREAM IL 60197-4640        SPRINGVILLE UT 84663               STERLING HEIGHTS MI 48314

CONSUMERS ENERGY                  CRANBERRY TOWNSHIP                 DA WRIGHT & SONS
P.O. Box 30079                    ATTN: FINANCE DEPARTMENT           4229 EAST 124TH STREET
LANSING MI 48937-0001             2525 ROCHESTER RD.                 CLEVELAND OH 44105
                                  CRANBERRY TOWNSHIP PA 16066-6499
COPLAY WHITEHALL SEWER AUT                                           DANIEL HOOTEN
3213 MACARTHUR ROAD               CREATIVE FINANCIAL STAFFING        2813 DELSA DRIVE
WHITEHALL PA 18052-2921           P.O. BOX 95111                     SALT LAKE CITY UT 84124
                                  CHICAGO IL 60694-5111
CORE MECHANICAL, LLC.                                                DANNY CEDILLO
27622 Commerce Oaks Drive         CREATIVE WALLS, INC.               2426 ROOSEVELT BLVD.
Oak Ridge North TX 77385          2535 TYRON PLACE                   KENNER LA 70062
                                  WINDERMERE FL 34786
CORNERSTONE HOLDING LP                                               DARLING INGREDIENTS INC.
dba BOCA CENTER AT MILITARY LLC   CT COMMERICAL MAINTENANCE          dba GRIFFIN INDUSTRIES LLC.
P.O. BOX 865162                   1245 FARMINGTON AVE.               PO BOX 554885
ORLANDO FL 32886-5162             BOX 204                            DETROIT MI 48255-4885
                                  WEST HARTFORD CT 6107
COSTA GROUP PRESSURE CLEAN                                           DARLING INTERNATIONAL INC
P.O. BOX 661280                   CUBESMART, L.P.                    P.O. BOX 552210
MIAMI SPRINGS FL 33266            8585 TOUCHTON ROAD                 DETROIT MI 48255-2210
                                  JACKSONVILLE FL 32216
COTY UPHOLSTERY INC.                                                 DAUENHAUER PLUMBING INC
191 KETTERING DRIVE               CUCAMONGA VALLEY WTR DISTR         3416 ROBARDS COURT
BUFFALO NY 14223                  P.O. BOX 51788                     LOUISVILLE KY 40218
                                  LOS ANGELES CA 90051-6088
COUNTRY CLUB PLAZA KC PART                                           DAVID B. CAREY
dba COUNTRY CLUB PLAZA JV LLC     CUTLER CUSTOM CARE LLC.            P.O. BOX 71932
P.O. BOX 675001                   102 GILES COURT                    DURHAM NC 27722
DETROIT MI 48267-5001             NEWARK DE 19702
                                                                     DAVID MENICK
COX BUSINESS SERVICES             CVM HOLDINGS, LLC                  100 RIVERVIEW ROAD
P.O. BOX 2742                     PO BOX 63340                       STEVENSVILLE MD 21666
OMAHA NE 68103-2742               CHARLOTTE NC 28263-3340
                                                                     DAVIS & GREEN INC
COX COMMUNICATIONS                D & J MASTER CLEAN INC.            PO BOX 35418
DEPT. 781114                      680 DEARBORN PARK LANE             RICHMOND VA 23235
P.O. BOX 78000                    COLUMBUS OH 43085
DETROIT MI 48278-1114                                                DAVIS & JONES, LLC
                                  D & S AUTOMATICS, INC              209 WEST 2ND ST, STE 322
COZZINI BROS INC                  23900 W. INDUSTRIAL DRIVE S        FORT WORTH, TX 76102
350 HOWARD AVE                    SUITE #1
DES PLAINES IL 60018              PLAINFIELD IL 60585                DAVIS, RANDOLPH P.
                                                                     251 Park Drive
                                                                     Longmeadow MA 1106
                  Case 6:20-bk-02159-LVV   Doc 1    Filed 04/10/20   Page 23 of 48
DAWSON SAFE & LOCK SERVICE       DENVER WATER                        DIAMOND SHARP CUTLERY SVC
26309 I 45 NORTH                 PO BOX 173343                       513 MERCURY LANE
THE WOODLANDS TX 77380           DENVER CO 80217-3343                BREA CA 92821

DAY & NIGHT ALL SERVICE LLC      DEPARTMENT OF ALCOHOLIC             DIANA DAUSCH
P.O. BOX 310                     BEVERAGE CONTROL - UTAH             221 SE 9th Court
NEW HYDE PARK NY 11040           P.O. BOX 30408                      Hallandale Beach FL 33009
                                 SALT LAKE CITY UT 84130
DAYMARK FOOD SAFETY SYSTEM                                           DIANE M HENDRICKS ENTERPRI
12836 SOUTH DIXIE HWY.           DERBY FIRE & SAFETY                 PO BOX 650823
BOWLING GREEN OH 43402           157 MARVIN AVENUE                   DEPT# 41283
                                 BROOKS KY 40109                     DALLAS TX 75265
DAYTON MALL VENTURE LLC
DBA DAYTON MALL II LLC           DESERT BOILER & CONTROLS,           DICHELLO DISTRIBUTORS, INC
2700 MIAMISBURG-CENTERVILLE RD   305 W. SAINT LOUIS AVENUE           P.O.BOX 562
DAYTON OH 45459                  LAS VEGAS NV 89102                  55 MARSH HILL ROAD
                                                                     ORANGE CT 6477
DAYTON POWER & LIGHT             DESIGN MECHANICAL, INC.
P.O. BOX 2631                    P.O. BOX 875988                     DIRECT TV
DAYTON OH 45401-2631             KANSAS CITY MO 64187-5988           1313 NW 167TH ST
                                                                     MIAMI FL 33169
DECKER, AARON E.                 DESIGNER HOME IMPROVEMENTS
504 TREETOP DRIVE                955 YORKSHIRE DRIVE                 DOLPHIN MALL ASSOCIATES LL
#301                             BREINIGSVILLE PA 18031              DEPT. 189501
VIRGINIA BEACH VA 23451                                              P.O. BOX 6700
                                 DETROIT FIRE EXTINGUISHER           DETROIT MI 48267-1895
DEE PRINTING INC                 COMPANY INC
PO BOX 132                       6318 14TH ST                        DOMINICK ANNESE
COLUMBUS OH 43216                DETROIT MI 48208                    22 WHITTIER DRIVE
                                                                     MANAHAPAN NJ 7726
DEEP CLEANING SOLUTIONS LL       DEVO SERVICES, INC
P.O. BOX 2204                    8413 LAUREL FAIR CIR.               DOMINION EAST OHIO
HUDSON OH 44236                  SUITE #103                          PO BOX 26785
                                 TAMPA FL 33610                      RICHMOND VA 23261-6785
DEEP RIVER BREWING COMPANY LLC
234 AUTUMN RIDGE DR              DEVON GILMAN                        DOMINION ENERGY
WENDELL NC 27591                 100 RIVERVIEW ROAD                  P.O. BOX 45841
                                 STEVENSVILLE MD 21666               SALT LAKE CITY UT 84139-0001
DEL AMO FASHION CENTER
OPERATING COMPANY, LLC.          DFS HOLDING COMPANY, INC            DOMINION ENERGY NORTH CAROLINA
P.O. BOX 409657                  101 MT HOLLY BY-PASS                PO BOX 100256
ATLANTA GA 30384-9657            LUMBERTON NJ 8048                   COLUMBIA SC 29202-3256

DELTA UNIFORM AND LINEN IN       DI FIGLIOLA CONTRACTING CO          DOMINION VIRGINIA POWER
1617 CANDELARIA NE               PO BOX 696                          PO BOX 26543
ALBUQUERQUE NM 87107             BALDWIN PLACE NY 10505              RICHMOND VA 23290

DEMARK'S LLC                     DIAMOND RENTAL INC.                 DOOR & GATE CO. LLC.
1421 PEARL ST.                   4518 SOUTH 500 WEST                 130 HICKMAN RD.
WAUKESHA WI 53189                SALT LAKE CITY UT 84123             STE. 26
                                                                     CLAYMONT DE 19703
                 Case 6:20-bk-02159-LVV   Doc 1    Filed 04/10/20   Page 24 of 48
DOUGLAS ORR PLUMBING, INC.      EAST BELTLINE DEVELOPMENT
301 FLAGNER DRIVE               38500 WOODARD AVENUE                EL GENERAL CLEANING SERVIC
MIAMI SPRINGS FL 33166          SUITE 200                           4991 RIALTO ROAD
                                BLOOMFIELD HILLS MI 48304           WEST CHESTER OH 45069
DOVER GREASE TRAPS INC
16585 13 MILE RD                EAST TN MOUNTAIN VIEWS              EL ROSARIO CLEANING LLC
FRASER MI 48026                 P.O. BOX 432                        7577 PAWLING PLACE
                                VONORE TN 37885                     COLUMBUS OH 43235
DOWNTOWN SELF STORAGE 2ND
29 WEST 800 SOUTH               EASTON TELECOM SERVICES LLC         ELECTRICAL ENTERPRISES IN
SALT LAKE CITY UT 84101         P.O. BOX 74836                      18 1/2 S MAIN ST SUITE 12
                                CLEVELAND OH 44194-4836             CLARKSTON MI 48346
DREW WINDOW CLEANING, INC.
P.O. BOX 784                    EASTON TOWN CENTER LLC              ELIZABETH WALTERS
BOYS TOWN NE 68010              L-3769                              8267 CREEKWOODS PLACE
                                COLUMBUS OH 43260-3769              MAINEVILLE OH 45039
DTE ENERGY
PO BOX 740786                   ECOLAB                              ELLIS COFFEE CO
CINCINNATI OH 45274-0786        370 WABASHA ST N                    P.O. BOX 786926
                                ST PAUL MN 55102                    PHILADELPHIA PA 19178
DUKE ENERGY
P.O. BOX 1003                   ECOLAB FOOD SAFETY SPECIAL          ELLIS CONSULTING
CHARLOTTE NC 28201-1003         24198 NETWORK PLACE                 9565 YELLOW FINCH COURT
                                CHICAGO IL 60673-1241               BRENTWOOD TN 37027
DUQUESNE LIGHT COMPANY
PAYMENT PROCESSING CENTER       ECOLAB PEST ELIM DIVISION           EMERALD COAST CUTLERY LLC
PO BOX 10                       26252 NETWORK PLACE                 PO BOX 751
PITTSBURGH PA 15230-0010        CHICAGO IL 60673-1262               LOXLEY AL 36551

DYNALINK COMMUNICATIONS         EDGAR ELECTRIC COMPANY              EMPIRE MERCHANTS NORTH LLC
PO BOX 3415                     535 CHICORA ROAD                    P.O. BOX 10
NEW YORK, NY 10008              BUTLER PA 16001                     COXSACKIE NY 12051

E SPACE COMMUNICATIONS INC      EDWARD A. ZITO                      EMPLOYEE OWNED NUSERY ENT. LTD
P.O, BOX 4122                   820 SW 66TH AVE.                    13602 FM 969
DUBLIN OH 43016-0074            PLANTATION FL 33317                 AUSTIN TX 78724

E&A LOCKSMITH INC.              EDWARD G. MILGRIM, P.A.             ENERGIZE ELECTRONICS INC
10500 LORAIN AVE.               MILGRAM LAW GROUP                   PO BOX 815
CLEVELAND OH 44111              3216 CORRINE DRIVE                  BLUE SPRINGS MO 64013
                                ORLANDO FL 32803
E&P INVESTMENT GROUP                                                ENGINEERED PROTECTION SYS
PO BOX 5334                     EDWINA ROGERS                       750 FRONT AVE. NW
CARSON CA 90749                 100 RIVERVIEW ROAD                  GRAND RAPIDS MI 49504
                                STEVENSVILLE MD 21666
E.R. PUMPING SERVICE CORP.                                          ENTERGY
P.O. BOX 266603                 EEC ACQUISITIONS LLC.               P.O. BOX 8101
FT. LAUDERDALE FL 33326         210 VISTA PARK DR                   BATON ROUGE LA 70891-8101
                                PITTSBURGH PA 15205
E2 COMMERIAL LLC                                                    ENVIROMATIC CORP OF AMERIC
PO BOX 3300                     EiPRINTING, INC.                    5936 PILLSBURY AVE SOUTH
WINTER PARK FL 32790            200 RIVERSIDE INDUSTRIAL COMP       MINNEAPOLIS MN 55419
                                PORTLAND, ME 04103
                  Case 6:20-bk-02159-LVV   Doc 1    Filed 04/10/20   Page 25 of 48
ENVISION COMMERICAL CLEANI       EYMAN PLUMBING, INC.
52 E. CRESCENTVILLE RD.          8506 S. 117TH STREET                FERGUSON ELECTRIC SERVICE
WEST CHESTER OH 45246            LAVISTA NE 68128                    321 ELLICOTT STREET
                                                                     BUFFALO NY 14203
EPLEE & ASSOCIATES DIRECTO       FABULOUS FISH
P.O. BOX 27045                   13560 NW INDUSTRIAL DRIVE           FILLMORE BUCKEYE INVESTMENTS LLC
GREENVILLE SC 29616              BRIDGETON MO 63044                  7555 E PLEASANT RD #160
                                                                     INDEPENDENCE OH 44131
EQUIFAX WORKFORCE SOLUTION       FACILITEC SOUTHWEST
4076 PAYSPHERE CIRCLE            2300 COLD SPRINGS ROAD              FIRE CENTRAL SOLUTIONS INC
CHICAGO IL 60674                 FORT WORTH TX 76106-8401            4494 SOUTHSIDE BLVD.
                                                                     STE. 102
ERIK DONNER                      FACILITEC WEST                      JACKSONVILLE FL 32216
13211 W CHOCTAW TRAIL            P.O. BOX 6008
HOMER GLEN IL 60491              SAN PEDRO CA 90734                  FIRE CONTROL SYSTEMS, INC.
                                                                     11515 REAMES ROAD
ESCUE, AUSTIN                    FAIRFAX COMP OF VIRGINIA, LLC       CHARLOTTE NC 28269
1207 CARLTON ARMS CIRCLE         DEPARTMENT 56501
BRADENTON FL 34208               P.O. BOX 67000                      FIRE GUARD INC.
                                 DETROIT MI 48267-0565               4404 S. 76TH CIRCLE
EVANS, EMMANUEL                                                      OMAHA NE 68127
6511 Marsol Road                 FANCHER NEW COMFORT UPHOLSTERY
Mayfield Heights OH 44124        348 BELLERS CT.                     FIRE RANGER EXTINGUISHER
                                 YPSILANTI MI 48198                  SERVICE, INC.
EVENT PRINT SOLUTIONS, INC                                           4009 NE 6TH AVE.
12257 CALLANISH LANE             FARMER & IRWIN CORPORATION          FT. LAUDERDALE FL 33334
LOVES PARK IL 61111              3300 AVENUE K
                                 RIVIERA BEACH FL 33404              FIREMASTER
EVERSOFT, INC.                                                       DEPT 1019
P.O. BOX 92769                   FAT FREE, INC.                      PO BOX 121019
LONG BEACH CA 90809              P.O. BOX 25601                      DALLAS TX 75312-1019
                                 TAMPA FL 33622-5601
EVERSOURCE                                                           FIRST CLASS PLUMBING OF FL
P.O. BOX 56004                   FD HAYES ELECTRIC CO.               6123 LEE ANN LANE
BOSTON MA 2205                   2301 BEAL AVENUE                    NAPLES FL 34109
                                 LANSING MI 48910
EVOLUTION ELECTRIC, LLC                                              FIRST CLASS PLUMBING. LLC.
141 WILLOWICK DRIVE              FE MORAN SECURITY                   17032 SILVER CHARM PLACE
NAPLES FL 34110                  75 Remittance Drive                 LEESBURG VA 20176
                                 Dept. 1743
EVOLVE DANCE, LLC                Chicago IL 60675-1743               FISH WINDOW CLEANING
6070 S. RAINBOW BLVD.                                                P.O. BOX 1641
LAS VEGAS NV 89118               FEDERAL EXPRESS                     BUTLER PA 16003
                                 PO BOX 371461
EXECUTIVE MAINTENANCE SYST       PITTSBURGH PA 15250-7461            FISH WINDOW CLEANING INC.
6819 POLONIA AVE                                                     1064 TALLMADGE ROAD
CLEVELAND OH 44105               FEDERAL EXPRESS                     KENT OH 44240
                                 P.O. BOX 223125
EXTRA SPACE STORAGE              PITTSBURGH PA 15251-2125            FIVE STAR VALET
10550 GOODLETTE FRANK RD.                                            1415 PANTHER LANE
NAPLES FL 34109                  FEDEX                               UNIT 110
                                 DEPT CH PO BOX 10306                NAPLES FL 34109
                                 PALATINE IL 60055-0306
                  Case 6:20-bk-02159-LVV   Doc 1    Filed 04/10/20   Page 26 of 48
FLORIDA CITY GAS                                                     G&H ELECTRIC , LLC.
P.O. BOX 5410                    FOUR STAR MECHANICAL, INC.          dba GRACI HART ELECTRIC
CAROL STREAM IL 60197-5410       4127 TONYA TRAIL                    1720 ORPHEUM AVENUE
                                 HAMILTON OH 45011                   METAIRIE LA 70005
FLORIDA POWER & LIGHT
GENERAL MAIL FACILITY            FOX VALLEY FIRE & SAFETY            G&R MECHANICAL INC.
MIAMI FL 33188-0001              2730 PINNACLE DRIVE                 3220 BERGEY ROAD
                                 ELGIN IL 60124                      HATFIELD PA 19440
FLORIDA PUBLIC UTILITIES
P.O. BOX 1237                    FRAGAS SERVICES                     GALKIN AND ZHANG, LLC.
SALISBURY MD 21802               P.O. BOX 290325                     1066 W. TIOGA ST.
                                 WETHERSFIELD CT 6129                ALLENTOWN PA 18103
FOCAL POINTE OUTDOOR
SOLUTIONS INC.                   FRANK GAY PLUMBING INC              GASKET DOCTOR, INC.
1921 RAVINIA DRIVE               6206 FOREST CITY ROAD               15757 PINES BLVD. #302
CASEYVILLE IL 62232              ORLANDO FL 32810                    PEMBROKE PINES FL 33027

FOG RIVER, LLC.                  FREDERICK WILDMAN & SONS L          GASKET GUY OF DFW
1360 SOUTH REDWOOD ROAD          307 EAST 53RD STREET                2201 MIDWAY RD
SALT LAKE CITY UT 84104          NEW YORK NY 10022                   STE 324
                                                                     CARROLLTON TX 75006
FOOD EQUIPMENT REPAIR INC        FREEMALL ASSOCIATES LLC.
1925 MCGEE ST                    dba FREEHOLD RACEWAY MALL           GASKET GUY OF JACKSONVILLE
KANSAS CITY MO 64108-1827        P.O. BOX 511421                     100 NAUTILUS CT
                                 LOS ANGELES CA 90051-7976           PONTE VEDRA BEACH FL 32082
FOOD EQUIPMENT SERVICE
3316 A OLD CAPITOL TRAIL         FRONTIER                            GASKET GUY OF SOUTHWEST
WILMINGTON DE 19808              P.O. BOX 740407                     FLORIDA, LLC.
                                 CINCINNATI OH 45274-0407            268 WILLOWICK WAY
FOOD EQUIPMENT SERVICE INC                                           VENICE FL 34293
P.O. BOX 820                     FRONTIER LIGHTING INC.
HILLVIEW KY 40129                2090 PALMETTO STREET                GASKET GUYS OF DAYTON
                                 CLEARWATER FL 33756                 430 WEST RAHN RD
FOODSTYLING.COM                                                      DAYTON OH 45429
1888 CHECKERBERRY COURT          FROSS ZELNICK LEHRMAN &
OVIEDO FL 32766                  ZISSU, P.C.                         GASKET MASTERS OF SW FL
                                 4 TIMES SQUARE, 17TH FLOOR          PO BOX 381045
FORBES TAUBMAN ORLANDO LLC       NEW YORK NY 10036                   MURDOCK FL 33938
16286 COLLECTIONS CENTER DRIVE
CHICAGO IL 60693                 FTTC, CORP.                         GASKET PRO LLC
                                 dba FLAME-TECH                      PO BOX 1092
FORBES/COHEN FLORIDA             23 SOUTHGATE BLVD. SUITE 103        CRESTWOOD KY 40014
16156 COLLECTIONS CENTER DRIVE   NEW CASTLE DE 19720
CHICAGO IL 60693                                                     GASKETS ROCK INTERNATIONAL
                                 FULTON STEAMER, INC.                409 PARKWAY VIEW DRIVE
FORTUNE FISH COMPANY             18459 PINES BLVD.                   PITTSBURGH PA 15205
DEPT #10477                      SUITE 102
PO BOX 87618                     PEMBROKE PINES FL 33029             GASKETS ROCK OF CENTRAL OH
CHICAGO IL 60680-0618                                                5083 LAMBERT RD
                                 G & Z REMODELING, LLC               GROVE CITY OH 43123
FORTUNE INTERNATIONAL LLC        19 SIGRID DRIVE
8501 PAGE AVE                    CARNEGIE PA 15106
ST LOUIS MO 63114
                  Case 6:20-bk-02159-LVV   Doc 1   Filed 04/10/20   Page 27 of 48
GECKO HOSPITALITY                GOLDEN GATE BEVERAGE               GREENE TOWN CENTER LLC
DEPARTMENT 4542                  6105 MAYFIELD RD                   PO BOX 304
CAROL STREAM IL 60122-4542       MAYFIELD HEIGHTS OH 44124          DEPT. 5000
                                                                    EMERSON NJ 7630
GEER GAS CORPORATION             GOLDEN GLO CARPET CLEANERS
PO BOX 16396                     2785 PHILMONT AVE.                 GREGG & SONS MECHANICAL
COLUMBUS OH 43216                UNIT E                             256 GUM BUSH ROAD
                                 HUNTINGTON VALLEY PA 19006         TOWNSEND DE 19734
GENERAL DISTRIBUTING CO.
P.O. BOX 221210                  GOODWIN RECRUITING                 GRIFFIS, PATRICK
SALT LAKE CITY UT 84122          10 FERRY STREET                    521 51ST AVENUE SOUTH
                                 SUITE 420                          ST. PETERSBURG FL 33705
GENERAL FIRE & EQUIPMENT         CONCORD NH 3301
3210 E 14TH                                                         GROUPRAISE
DES MOINES IA 50316              GOODWIN TUCKER                     Dwight D. Eisenhower PTO
                                 PO BOX 3285                        279 Burlington Road
GENOVESE KNIFE COMPANY           DES MOINES IA 50316-0285           Freehold NJ 7728
PO BOX 5548
PEORIA IL 61601-5548             GORDON FOOD SERVICE                GRUSI, BRIAN
                                 P.O. BOX 88029                     100 S EOLA DR, UNIT 1203
GEORGE HOWE CO INC               CHICAGO IL 60680-1029              ORLANDO FL 32801
PO BOX 269
GROVE CITY PA 16127              GRAPEVINE CHAMBER OF COMME         GUARDIAN ALARM
                                 200 EAST VINE                      1810 JEFFERSON AVE
GERARDO SANTILLAN JAIME          GRAPEVINE TX 76099                 TOLEDO OH 43624
2709 NW 112TH STREET
OKLAHOMA CITY OK 73120           GREASE MASTERS LLC                 GUARDIAN PROTECTION SERVIC
                                 PO BOX 132                         174 THORN HILL ROAD
GET FRESH PRODUCE                COTTLEVILLE MO 63338               WARRENDALE PA 15086
1441 BREWSTER CREEK BLVD
BARTLETT IL 60103                GREAT STATE MECHANICAL LLC         GULF COAST PRODUCE DIST. I
                                 PO BOX 1632                        194 BOHN STREET
GGP LIMITED PARTNERSHIP          LEANDER TX 78646                   BILOXI MS 39530
FASHION PLACE, LLC.
P.O. BOX 86                      GREAT VALUE STORAGE - POLA         GULFPORT SEAFOODS INC
MINNEAPOLIS MN 55486-2780        9984 OLD STATE ROAD                8016 N MAY AVE
                                 LEWIS CENTER OH 43035              OKLAHOMA CITY OK 73120
GISG, LLC
P.O. BOX 540012                  GREAT WASH PARK LLC                GULFSTREAM PARK RACING ASSOC, INC
OMAHA NE 68154                   P.O. BOX 96146                     ATTN: ACCOUNTS RECEIVABLES
                                 LAS VEGAS NV 89193-6146            901 S. FEDERAL HWY.
GLASS ACT CLEANING LLC.                                             HALLANDALE BEACH FL 33009
P.O. BOX 291464                  GREATER BOCA RATON CHAMBER
FORT LAUDERDALE FL 33329         COMMERCE                           GUSTAVO HERNANDEZ
                                 1800 N. DIXIE HIGHWAY              9457 E SHENANDOAH DR
GLOVER BEVERAGES, LLC            BOCA RATON FL 33432                INDIANAPOLIS IN 46229
1323 CAPITAL BLVD.
RALEIGH NC 27603                 GREENE COUNTY                      H2O WINDOW CLEANING, LLC.
                                 SANITARY ENGINEERING DEPT          803 OSAGE AVENUE
GOLDEN BEAR LOCK & SAFE IN       PO BOX 340                         KANSAS CITY KS 66105
7445 DARON COURT                 XENIA OH 45385-0340
PLAIN CITY OH 43064
                   Case 6:20-bk-02159-LVV   Doc 1    Filed 04/10/20   Page 28 of 48
HALPERN'S STEAK AND SEAFOO                                            HOUSTON WEST CHAMBER OF
P.O. BOX 116421                   HERITAGE SERVICE GROUP              COMMERCE
ATLANTA GA 30368-6421             OF NEW ORLEANS INC.                 10370 RICHMOND STE 125
                                  PO BOX 8710                         HOUSTON TX 77042
HANDY WINDOW CLEANING INC         FORT WAYNE IN 46898-8710
PO BOX 2577                                                           HUMBERT SANITARY SERVICE
CYPRESS TX 77410                  HERNANDEZ, NOE                      1581 APPLEGROVE RD NW
                                  1307 WEXFORD GREEN BLVD.            PO BOX 2126
HANDYMAN JOE, LLC.                COLUMBUS OH 43228                   CANTON OH 44720
12 REDBED DRIVE
WARRENTON MO 63383-3212           HERONA PROPERTY MANAGEMENT          HUMITECH OF IOWA, INC.
                                  145 S. LIVERNOIS RD., #209          P.O. BOX 1027
HANLON PLUMBING CO.               ROCHESTER HILLS MI 48307            WAUKEE IA 50263-1027
8004 NW 154TH ST #563
MIAMI LAKES FL 33016              HIBDON'S MECHANICAL & REST          HUNT PLUMBING CO INC
                                  835 SE 30TH ST. STE. B              520 SOUTH SPRATLEY
HAPSELECT, LLC.                   OKLAHOMA CITY OK 73129              KANSAS CITY MO 64161
1341 W. MOCKINGBIRD LANE
SUITE 700 W                       HILLCREST PARTY RENTALS             HUNTSVILLE UTILITIES
DALLAS TX 75247                   3507 MOTOR AVE                      120 SPRAGENS ST.
                                  LOS ANGELES CA 90034                HUNTSVILLE AL 35801
HARBOURSIDE PLACE , LLC.
107 NORTH COASTAL WAY             HINES GLOBAL REIT                   ICE OF CENTRAL FLORIDA INC
JUPITER FL 33477                  4875 TOWN CENTER LLC                1725 CENTRAL FLORIDA PARKWAY
                                  P.O. BOX 742632                     STE D
HARRY O. HAHN SEAFOOD INC.        ATLANTA GA 30374-2632               ORLANDO FL 32837
3024 PENN AVE.
WEST LAWN PA 19609                HM ELECTRONICS, INC.                IEM, INC.
                                  dba JTECH                           PO BOX 93538
HAYES MECHANICAL, LLC.            1400 NORTHBROOK PKWY #320           LAS VEGAS NV 89193-3538
5959 HARLEM AVE                   SUWANEE GA 30024
CHICAGO IL 60638                                                      IMAGE FIRST
                                  HOLBROOK, PAUL                      42 LUKENS DR
HEARN KIRKWOOD PRODUCE            2685 PULASKI LOOP                   SUITE 100
PO BOX 723                        VIRGINIA BEACH VA 23456             NEW CASTLE DE 19720-2727
COLUMBIA MD 21045-9998
                                  HOOD MASTERS, INC.                  INDEPENDENT CRAFT DISTRIBU
HEGER, MARTIN                     19252 SHIRLEY ST.                   3811 TARHEEL DRIVE
921 PRYNNWOOD LANE                OMAHA NE 68130                      SUITE 101
APT #101                                                              RALEIGH NC 27609
O'FALLON MO 63366                 HOSPITALITY RESOURCE SUPPL
                                  499 N SR. 434, #1005                INDIANA NEWSPAPERS, INC
HELENA ROWLAND                    ALAMONTE SPRINGS FL 32714           ADVERTISING
100 RIVERVIEW ROAD                                                    PO BOX 677553
STEVENSVILLE MD 21666             HOST COFFEE SERVICE, INC.           DALLAS TX 75267-7553
                                  9444 J STREET
HELIX ELECTRIC OF NEVADA          OMAHA NE 68127                      INDIANAPOLIS NEWSPAPERS
3078 E. Sunset Rd, Suite 9                                            PO BOX 742619
Las Vegas NV 89120                HOT SCHEDULES                       CINCINNATI OH 45274-2619
                                  P.O. BOX 848472
HENN PLUMBING INC                 DALLAS TX 75284-8472
8793 WUEST ROAD
CINCINNATI OH 45251
                 Case 6:20-bk-02159-LVV   Doc 1     Filed 04/10/20   Page 29 of 48
INFINITY SERVICE GROUP, IN                                           JC ROYAL REPAIRS
dba ALLSTAR HOME SERVICES       J.V. CHUJKO INC.                     473 DOANE AVE.
P.O. BOX 4229                   315 BROADWAY AVENUE                  STATEN ISLAND NY 10308
RANCHO CUCAMONGA CA 91729       MCKEES ROCKS PA 15136
                                                                     JCP&L
INLAND CONTINENTAL PROPERTY     JACKSON TOTAL SERVICE, INC.          P.O. BOX 3687
MANAGEMENT CORP                 P.O. BOX 9589                        AKRON OH 44309-3687
32533 COLLECTION CENTER DR      NAPLES FL 34101
CHICAGO IL 60693-0325                                                JD ELECTRIC, LLC.
                                JAEGER HOLDINGS, LLC.                4702 PINEWOOD RD.
INLAND SEAFOOD ATLANTA          dba ALL-TEMP REFRIGERATION           LOUISVILLE KY 40218
ATTN: ACCOUNTS RECEIVABLE       271 HWY 1085
P.O. BOX 639737                 MADISONVILLE LA 70447                JDRF INTERNATIONAL
CINCINNATI OH 45263-9737                                             26 BROADWAY 15TH FLOOR
                                JAMES W. NOLEN                       NEW YORK NY 10004
INNOVATIVE HARDWARE, INC.       dba NOLEN LOCKSMITHING
dba EPS                         7919 GRACELAND ST.                   JEA
8845 BASIL WESTERN ROAD         DAYTON OH 46469                      P.O, BOX 45047
CANAL WINCHESTER OH 43110                                            JACKSONVILLE FL 32232-5047
                                JANI KING OF NEW YORK, INC
INSTITUTIONAL MALL INVESTORS    P.O. BOX 415296                      JEANINE CLIFTON
dba IMI HUNTSVILLE LLC.         BOSTON MA 2241                       100 RIVERVIEW ROAD
P.O. BOX 742117                                                      STEVENSVILLE MD 21666
ATLANTA GA 30374-2117           JANI-KING OF BUFFALO, INC.
                                P.O. BOX 415291                      JEFF VOORHIES
INTEGRATED PLUMBING             BOSTON MA 02241-5291                 DBA VOORHIES CARPET SOLUTIONS
SOLUTIONS, LLC.                                                      630 W. WABASH ST.
4364 SUN BLOSSOM CIRCLE         JANI-KING OF LITTLE ROCK             OLATHE KS 66061
WEST JORDAN UT 84088            609 RELIABILITY CIRCLE
                                KNOXVILLE TN 37932                   JEFFERSON PARISH DEPT
INTERNATIONAL BEVERAGE WOR                                           OF WATER
PO BOX 531331                   JANVIER ELECTRIC, INC.               PO BOX 10007
CINCINNATI OH 45253             740 ELIZABETH LN                     JEFFERSON LA 70181-0007
                                BEAR DE 19701
IRVINE RANCH WATER DISTRIC                                           JEFFREY NOBLE PRODUCTIONS
P.O. BOX 51403                  JAVIER SOLIS                         3321 OAK GROVE AVE
LOS ANGELES CA 90051-5703       P.O. BOX 8217                        STE K
                                ALBUQUERQUE NM 87198                 DALLAS TX 75204
J&A HANDYMAN SERVICES
1165 NE 87 STREET               JAY'S SHARPENING SERVICE             JEFFREY PARKS JR.
MIAMI FL 33138                  4310 W. TOMPKINS AVE.                P.O. BOX 6455
                                LAS VEGAS NV 89103                   VIRGINIA BEACH VA 23456
J&R UPHOLSTERY AND BLINDS
453 DAVIDSON RD.                JB KAIN INC.                         JERROD NEIL GAITHER
PITTSBURGH PA 15239             922 W. SPRING VALLEY PK.             dba TEXAS CUSTOM LANDSCAPE
                                DAYTON OH 45458                      7721 AUBREY LANE
J&S CARPET CLEANING INC                                              N RICHLAND HILLS TX 76182
1710 ARTHUR COURT               JBK GROUP FLORIDA LLC.
WAUKESHA WI 53188               P.O. BOX 92953                       JESSENEA SANTANA
                                CLEVELAND OH 44194-2953              100 RIVERVIEW ROAD
J.R. PLUMBING INC.                                                   STEVENSVILLE MD 21666
16817 W. GREENFIELD AVE.
NEW BERLIN WI 53151
                  Case 6:20-bk-02159-LVV   Doc 1     Filed 04/10/20   Page 30 of 48
JIM'S LOCK & SAFE SERVICE        JONES ELECTRICAL SERVICE C
2005 N 77TH STREET               PO BOX 61                            KATSIROUBAS BROS. PRODUCE
KANSAS CITY KS 66104             MAYFLOWER AR 72106                   PO BOX 220
                                                                      READVILLE MA 2137
JM ELECTRONICS, INC.             JORDAN CREEK TOWN CENTER
dba LE GRAND ELECTRONICS INC     PO BOX 86                            KEITH GORDON LANGEROCK
6187 MW 167TH ST UNIT H-37       MINNEAPOLIS MN 55486-2423            dba VINYL DOCTOR LLP.
HIALEAH FL 33015                                                      3409 S. ARROWHEAD CT.
                                 JOSEPH MURPHY CONSTRUCTION           INDEPENDENCE MO 64057
JOBTARGET, LLC.                  3160 Crow Canyon Place
15 THAMES ST. 2ND FLOOR          Suite 230                            KELLER FIRE & SAFETY INC
GOTON CT 6340                    San Ramon CA 94583                   1138 KANSAS AVENUE
                                                                      KANSAS CITY KS 66105-1226
JOE EAST ENTERPRISES,INC.        JOSEPH W. DEVLIN
dba A-1 LOCKSMITH                3657 SCHWALBE DR                     KELLY, NATALIE
2508 HIGHLANDER WAY SUITE 230    SARASOTA FL 34235                    924 46TH ST. S.W.
CARROLLTON TX 75006                                                   CANTON OH 44706
                                 JRA HHF VENTURE, LLC.
JOHN A. DEWITT                   DEPT. 781885                         KEN COOK'S PLUMBING &
7840 Valderrama Way              P.O. BOX 78000                       HEATING, INC.
Lakewood Ranch FL 34202          DETROIT MI 48278-1885                3704 TRADE CENTER DR.
                                                                      ANN ARBOR MI 48108
JOHN MONTALBANO PLUMBING         JUAN A. RODRIGUEZ JR
114 COLBY ST                     22921 BLACKWOLF WAY                  KENETH MCHUGH
METAIRIE LA 70001                PARKER CO 80138                      100 RIVERVIEW ROAD
                                                                      STEVENSVILLE MD 21666
JOHN OLSON                       JUILANNA STONE
1959 S. POWER ROAD               100 RIVERVIEW ROAD                   KENMARK SECURITY SYSTEMS
SUITE 103-149                    STEVENSVILLE MD 21666                dba SONITROL SECURITY
MESA AZ 85206-4398                                                    10600 TIMBERWOOD CIRCLE
                                 JURICA, JOHN                         LOUISVILLE KY 40223
JOHNS PLUMBING                   12722 CRAIG AVENUE
5851 SERVICE ROAD                GRANDVIEW MO 60403                   KENNETH HARPER
BIRMINGHAM AL 35235                                                   100 RIVERVIEW ROAD
                                 JUST WINDOWS WINDOW CLEANI           STEVENSVILLE MD 21666
JOHNS PLUMBING HEATING AND       PO BOX 31367
P.O. BOX 8496                    DES PERES MO 63131                   KENTUCKIANA COMFORT CENTER INC
GREENSBORO NC 27419                                                   2716 GRASSLAND DRIVE
                                 K & G COFFEE COMPANY                 LOUISVILLE KY 40299
JOHNSON CONTROLS FIRE            P.O. BOX 786751
PROTECTION LP                    PHILADELPHIA PA 19178-6751           KETER ENVIRONMENTAL SVC
DEPT CH 10320                                                         P.O. BOX 417468
PALATINE IL 60055-0320           KANSAS CITY POWER & LIGHT            BOSTON MA 02241-7468
                                 PO BOX 219330
JOHNSON CONTROLS FIRE LP         KANSAS CITY MO 64121-9330            KETTLE CUISINE LLC
P.O. BOX 371994                                                       330 LYNNWAY
PITTSBURG PA 15250-7994          KANSAS GAS SERVICE                   LYNN MA 1901
                                 P.O. BOX 219046
JOHNSON CONTROLS SECURITY        KANSAS CITY MO 64121-9046            KILLEEN PLUMBING COMPANY
P.O. BOX 371994                                                       P.O. BOX 40415
PITTSBURG PA 15250-7994          KAREN EDEN                           BAY VILLAGE OH 44140
                                 100 RIVERVIEW ROAD
                                 STEVENSVILLE MD 21666
                  Case 6:20-bk-02159-LVV   Doc 1   Filed 04/10/20   Page 31 of 48
KIMBROUGH FIRE EXTINGUISHER CO   KRYSTAL KLEEN INC.                 LASTING IMPRESSIONS PARTY
PO BOX 13296                     P.O. BOX 908                       5080 SINCLAIR RD.
ARLINGTON TX 76094               WARREN MI 48090-0908               COLUMBUS OH 43229

KING COFFEE & TEA SERVICES       L E HUNT JR ENTERPRISES IN         LAVAZZA PREMIUM COFFEES
4220 Edgeland Ave                dba ROTO-ROOTER PLUMBING           120 WALL STREET
Royal Oak MI 48073               4005 SE GRIMES BLVD                FLOOR 27TH
                                 GRIMES LA 50111                    NEW YORK NY 10005
KINGTON SEWER SEPTIC DRAIN
CLEANING SERVICE, INC.           LACORTE & SONS, LLC                LEAWOOD TCP, LLC.
P.O. BOX 50633                   144 NOTH BEVERWYCK ROAD            c/o GLIMCHER-LEAWOOD TCP
KNOXVILLE TN 37950-0633          SUITE 112                          P.O. BOX 645089
                                 LAKE HIAWATHA NJ 7034              CINCINNATI OH 45264-5089
KIZLER MAINTENANCE & REPAIR
40 GREENVIEW CIRCLE              LAFAYETTE PARTNERS                 LEGACY VILLAGE INVESTORS L
SHERWOOD AR 72120                5812 DARLINGTON RD                 PO BOX 635159
                                 PITTSBURGH PA 15217                CINCINNATI OH 45263-5159
KLABUNDE DELIVERY SERVICE
8555 IZARD STREET                LAKEWAY INVESTMENT CORP.           LEHIGH VALLEY MALL, LLC.
OMAHA NE 68114                   7998 GREENBRIAR RD.                P.O. BOX 829446
                                 TALBOTT TN 37877                   PHILADELPHIA PA 19182-9446
KNIGHT ELECTRIC CO, INC
7513 CENTRAL INDUSTRIAL DR       LAMAR COMPANIES                    LENNOX TOWN CENTER LTD.
RIVIERA BEACH FL 33404           PO BOX 96030                       DEPT. 324956 20805 2408
                                 BATON ROUGE LA 70896               P.O. BOX 83400
KNOXVILLE AREA CHAMBER                                              CHICAGO IL 60691-3400
PARTNERSHIP, INC.                LAMONICA'S RESTAURANT
17 MARKET SQUARE #201            6211 SOUTH 380 WEST                LENS CARPET CARE
KNOXVILLE TN 37902               MURRAY UT 84107                    3436 FRANETTE
                                                                    LANSING MI 48906
KOETTER FIRE PROTECTION OF       LAMONT M. FULTON & CO
HOUSTON, LLC                     PMB 153, 3111 ROUTE 38             LEVEL 3 COMMUNICATIONS LLC
10351 OLYMPIC DR.                SUITE 11                           BUSINESS SEVICES
DALLAS TX 75220-4437             MOUNT LAUREL NJ 8054               P.O. BOX 52187
                                                                    PHOENIX AZ 85072-2187
KONE INC.                        LANDMARK PAINTING & DECORA
P.O. BOX 7247                    75 EAST BETHPAGE ROAD              LEWIS & CLARK MEDIA LLC
PHILADELPHIA PA 19170-6082       PLAINVIEW NY 11803                 dba 614 MAGAZINE
                                                                    458 E. MAIN STREET
KOORSEN FIRE & SECURITY INC      LANIER PARKING SOLUTIONS           COLUMBUS OH 43215
2719 N ARLINGTON AVE             1 LEVEE WAY, SUITE 1113
INDIANAPOLIS IN 46218-3322       NEWPORT KY 41071                   LG&E
                                                                    PO BOX 9001960
KOSINS PARTY & TENT RENTAL       LANSING BOARD OF WATER & LIGHT     LOUISVILLE KY 40290-1960
1660 THOMAS PAINE PARKWAY        PO BOX 13007
CENTERVILLE OH 45459             LANSING MI 48901-3007              LIBERTY CENTER, LLC.
                                                                    L-3745
KRS - KITCHEN REPAIR SERVICE     LANSING STATE JOURNAL              COLUMBUS OH 43260-3745
27058 SW 140TH FSGE              P.O. BOX 742530
NARANJA FL 33032                 CINCINNATI OH 45274-2530           LIBERTY GLASS & DOOR, INC.
                                                                    1206 BROWNS CROSSROAD ROAD
                                                                    STALEY NC 27355
                  Case 6:20-bk-02159-LVV    Doc 1     Filed 04/10/20   Page 32 of 48
LIFE STORAGE #657                                                      MACHADO MGMT CONSULTING, LLC
1099 BRADLEY ROAD                 LogMeIn, INC                         840 N. ATLANTIC AVE. APT. C403
WESTLAKE OH 44145                 BOX 83308                            COCOA BEACH FL 32931
                                  WOBURN MA 01813-3308
LILA DE PUCH -MARSEE                                                   MACWH, LP. DANBURY MALL
P.O. Box 836538                   LONG RANGE SYSTEMS, INC.             P.O. BOX 849548
Miami FL 33283                    4550 EXCEL PARKWAY                   LOS ANGELES CA 90084-9548
                                  SUITE 200
LINCOLN CORNER                    ADDISON TX 75001                     MAHONEY ENVIRONMENTAL
555 WEST NEWTON STREET                                                 1819 MOEN AVENUE
GREENSBURG PA 15601               LORRAINE MAZAREK                     JOLIET IL 60436
                                  100 RIVERVIEW ROAD
LIQUID ENVIRONMENTAL SOLUT        STEVENSVILLE MD 21666                MAINTENANCE OF FLORIDA
OF TEXAS, LLC.                                                         9876 PLANO ROAD
PO BOX 733372                     LOUISIANA SPECIALTY DRINKS           DALLAS TX 75238
DALLAS TX 75373-3372              1603 SOUTH GAYOSO STREET
                                  METAIRIE LA 70125                    MAJESTIC BUILDING MAIN.
LIQUOR LEASING & SERVICE, L.C.                                         P.O. BOX 1303
LIQUOR SYSTEMS OF UTAH, LLC.      LUIS ERNESTO PADILLA                 POWELL OH 43065
9283 S. JEAN DRIVE                dba CACHO ELECTRIC
SANDY UT 84070                    1333 W. ROBIDOUX STREET              MAJESTIC BUILDING SRVC INC
                                  WILMINGTON CA 90744                  P.O. BOX 20097
LITE-HOUSE RENOVATIONS, IN                                             HUNTINGTON STATION NY 11746
1716 LAKE CHRISTOPHER DR.         LYLE SAYLOR
VIRGINIA BEACH VA 23464           100 RIVERVIEW ROAD                   MAJESTIC MEAT
                                  STEVENSVILLE MD 21666                70 WEST BOWERS WAY
LITTLE JOHN'S REFRIGERATION                                            SALT LAKE CITY UT 84115
1795 N FRY RD, STE 315            LYONS MECHANICAL SERVICES
KATY, TX 77449                    1495 Mallard Lake Avenue         MALL AT BRIARWOOD, LLC.
                                  SAINT JOHNS FL 32259             SUPER-REGIONAL MALLS OPERATING
LITTLE ROCK DEVELOPMENT COMPANY                                    P.O. BOX 404570
LLC                               M&J - BIG WATERFRONT TOWN CENTER ATLANTA GA 30384-4570
PROMENADE AT CHENAL               I LLC
P.O. BOX 95603                    LOCKBOX 778531                   MALL AT SUMMIT LLC
LAS VEGAS NV 89193-5603           8531 SOLUTION CENTER             P.O. BOX 644271
                                  CHICAGO IL 60677-8005            PITTSBURGH PA 15264-4271
LITTLE ROCK FALSE ALARM
REDUCTION PROGRAM                 M&M DISTRIBUTING INC.                MALLICK PLUMBING & HEATING
P.O. BOX 3876                     531 W. 600 NORTH                     8010 Cessna Avenue
LITTLE ROCK AR 72203              SALT LAKE CITY UT 84116              Gaithersburg MD 20879

LIZARD PALM COMPANY               M&M ENTERPRISES, LLC.                MALONEY & ASSOCIATES, INC.
7610 RUSTIC WOODS DRIVE           164 SAGEBROOK DR.                    4850 SOUTHWAY ST. SW
HUBER HEIGHTS OH 45424            MADISON AL 35757                     CANTON OH 44706

LOCKBUSTERS OF SW FL, INC.        M.I.D.A CLEANING SERVICES            MANSFIELD POWER AND GAS. L
dba POP A LOCK                    12000 Sawmill Rd, Apt. 2201          RECEIVABLES ACCOUNT
5915 MEMORIAL HWY STE 104         The Woodlands TX 77380               P.O. BOX 733714
TAMPA FL 33615                                                         DALLAS TX 75373-3714
                                  M.T. FRANCHSING INC.
LODOVICO WINDOW CLEANING          10250 ALLIANCE RD, STE. 210          MARCUS WADE SIMS
PO BOX 341                        CINCINNATI OH 45242                  5816 MAURIE DRIVE
MURRYSVILLE PA 15668                                                   WATAUGA TX 76148
                  Case 6:20-bk-02159-LVV   Doc 1   Filed 04/10/20   Page 33 of 48
                                 MCGERVEY ELECTRIC INC.
MARED MECHANICAL CORP            3571 VALLEY DRIVE                  MIAMI ELECTRIC MASTERS LLC
4230 W DOUGLAS AVE               PITTSBURGH PA 15234                12201 SW 128 CT
MILWAUKEE WI 53209                                                  SUITE 1612
                                 MCL MECHANICAL SERVICES IN         MIAMI FL 33156
MARIA DE JESUS QUEVEDO           26 KELSO AVENUE
4115 NE DAVIDSON #386            WEST SPRINGFIELD MA 1089           MICHAEL MCMURRAY
KANSAS CITY MO 64116                                                470 SW 850TH RD
                                 MCNAUGHT ENTERPRISES, INC.         CHILHOWEE MO 64733
MARK ALLEN PLUMBING &            dba FISH WINDOW CLEANING
HEATING, INC.                    148 WEST PIKE STREET               MICHAEL SMITH
4905 LIBRARY RD.                 CANONSBURG PA 15317                8301 EAST 85TH STREET
BETHEL PARK PA 15102                                                RAYTOWN MO 64138
                                 MC-RC ENTERPRISES, INC.
MARLIN BUSINESS BANK             1473 CENTRAL PARK AVE.             MICHAEL TOMAS ORTEGA
P.O. BOX 13604                   DAYTON OH 45409                    PO BOX 590912
PHILADELPHIA PA 19101-3604                                          HOUSTON TX 77259
                                 MCSHANE PLUMBING & COMMERC
MARQUEE EVENT GROUP, INC.        SERVICES, LLC.                     MICHAEL'S FINER MEATS
3200 BELMEADE DR, STE 130        152 BIG HORN RD.                   29037 NETWORK PLACE
CARROLLTON TX 75006              PITTSBURGH PA 15239                CHICAGO IL 60673-1290

MATT TURNER                      MDLS ENTERPRISE INC.               MICHELLE FERRANTE
dba TURNER CUSTOM LANDSCAPE      dba ECOWATER SYSTEMS               100 RIVERVIEW ROAD
749 ASPEN COURT                  1508 SAMMONDS ROAD                 STEVENSVILLE MD 21666
ALLEN TX 75002                   PLANT CITY FL 33563
                                                                    MICHIGAN FOOD SERVICE
MATTHEW A BURY                   MECHANICAL SYSTEM SERVICES         15365 FRANCIS RD
849 CARVER BLVD                  S70 W23385 MILLBROOK CIRCLE        LANSING MI 48906
TOLEDO OH 43607                  BIG BEND WI 53103
                                                                    MICHIGAN PLUMBING SEWER&DR
MAUREEN BUSSINK                  MENUTRINFO, LLC.                   6204 LANSING RD.
100 RIVERVIEW ROAD               155 NORTH COLLEGE AVE.             LANSING MI 48917
STEVENSVILLE MD 21666            SUITE 200
                                 FT. COLLINS CO 80524               MICROS RETAIL SYSTEMS INC
MAURERS MULTIPLE SERVICES INC                                       1200 HARBOR BLVD
2057 AUBURN AVE                  METRO FIRE EQUIPMENT, INC          10 FLOOR
HOLT MI 48842                    63 S HAMILTON PL                   WEEHAWKEN NJ 7086
                                 GILBERT AZ 85233
MAURER'S TEXTILE RENTAL                                             MIDAMERICAN ENERGY COMPANY
PO BOX 515                       METRO REPAIR & MAINT CO IN         PO BOX 8020
DEWITT MI 48820                  46536 DOUBLETREE                   DAVENPORT IA 52808-8020
                                 CANTON MI 48187
MAXPOWER STEAM CLEAN                                                MIDWAY CC VENTURE LP
826 OAKDALE DRIVE                METROPOLITAN UTILITIES             800 TOWN & COUNTRY BLVD.
HILLSBOROUGH NC 27278            DISTRICT                           SUITE 200
                                 P.O. BOX 3600                      HOUSTON TX 77024
MB PROMOTIONS, LLC               OMAHA NE 68103-0600
587 SENTINEL ROAD                                                   MIDWEST AUTOMATIC FIRE
MOORESTOWN NJ 8057               MFC BEAVERCREEK, LLC.              SPRINKLER CO
                                 MSC#7561                           2001 DEWOLF STREET
                                 P.O. BOX 415000 DEPT#00005246      DES MOINES IA 50316-2761
                                 NASHVILLE TN 37241-7561
                  Case 6:20-bk-02159-LVV   Doc 1    Filed 04/10/20   Page 34 of 48
MIDWEST FOOD EQUIPMENT           MONGIOVI AND SON PLUMBING           MURPHY COMPANY MECHANICAL
SERVICE, INC.                    190 BILMAR DRIVE STE 1000           CONTRACTORS AND ENGINEERS
3055 DIXIE AVE SW                PITTSBURGH PA 15205                 P.O. BOX 790379
GRANDVILLE MI 49418                                                  ST. LOUIS MO 63179
                                 MOORE'S REFRIGERATION, HEA
MIDWEST REPAIR SERVICE LLC       & AIR CONDITIONING SVC INC.         MURRAY CITY CORPORATION
217 UPTON ST.                    1226-A CAPSHAW ROAD                 5025 SOUTH STATE ST #113
SAINT LOUIS MO 63111             HARVEST AL 35749                    MURRAY UT 84157

MILLENNIUM ELECTRIC              MOREY'S SEAFOOD INTERNATIO          MUZAK NATIONAL
4340 EDGEWATER DR                6544 SOLUTIONS CENTER               3318 LAKEMONT BLVD.
ORLANDO FL 32804                 CHICAGO IL 60677-6005               FORT MILL SC 29708

MILLERS TEXTILE SERVICES         MOUNTAIN WEST WINDOW CLEAN          MY LOCKERCOM, LLC
PO BOX 239                       P.O. BOX 70127                      1300 ROSA PARKS BOULEVARD
WAPAKONETA OH 45895              SALT LAKE CITY UT 84170             DETROIT MI 48216

MILWAUKEE JOURNAL SENTINEL       MOYER COMPANIES INC.                myfulfillMATE
PO BOX 742699                    P.O. BOX 12458                      380H Knollwood St. #163
CINCINNATI OH 45274-2699         OKLAHOMA CITY OK 73157              Winston Salem NC 27103

MINNESOTA CONWAY FIRE &          MR KLEANZE LLC                      JENNIFER NACCARATO
SAFETY, INC.                     2817 Berkeley Drive                 8120 BILTMORE DRIVE
575 MINNEHAHA AVE. W.            BIRMINGHAM AL 35242                 BLACKLICK OH 43004
ST. PAUL MN 55103
                                 MR. REKEY OF AUSTIN, LLC.           NAPLES DAILY NEWS
MIRACLE PLUMBNG & HEATING        1421 WELLS BRANCH PKWY              P.O. BOX 742699
2121 WHIPPLE AVE NW              SUITE 104                           CINCINNATI OH 45274-2699
CANTON OH 44708                  PFLUGERVILLE TX 78660
                                                                     NATIONAL FUEL GAS DIST.
MISSION CLEAN INC                MR. ROOTER PLUMBING                 P.O. BOX 371835
1627 S MICHIGAN AVE              64 PROGRESS AVE.                    PITTSBURGH PA 15250
APT 104                          CRANBERRY TOWNSHIP PA 16066
VILLA PARK IL 60181                                                  NATIONAL GRID
                                 MUETZEL PLUMBING & HEATING          P.O. BOX 11735
MISSION LINEN SUPPLY             1661 KENNY RD.                      NEWARK NJ 07101-4735
2652 S. 16TH ST. #A              P.O. BOX 12489
PHOENIX AZ 85034                 COLUMBUS OH 43212                   NATIONAL HEATING AND AIR
                                                                     4300 CREEK ROAD
MITCH HAMBLETON                  MUIR ENTERPRISES INC.               CINCINNATI OH 45241
DALLAS COUNTY TREASURER          P.O. BOX 26775
801 COURT RM 201                 SALT LAKE CITY UT 84126             NATIONAL HOME SERVICES
ADEL IA 50003                                                        P.O. BOX 1483
                                 MULLIN PLUMBING                     RIVERTON UT 84065
MOHAMMAD ALI SOBHANI             2936 N SHIELDS BLVD
100 RIVERVIEW ROAD               MOORE OK 73160                      NATIONAL RESTAURANT ASSOC.
STEVENSVILLE MD 21666                                                37020 EAGLE WAY
                                 MUNICIPAL UTILITY DISTRICT          CHICAGO IL 60678-1370
MONARCHS SUB, LLC.               P.O. BOX 7580
P.O. BOX 734271                  SPRING TX 77387-7580                NATIONAL WOOD FINISHING &
DALLAS TX 75373-4271                                                 UPHOLSTERY
                                                                     5815 IRIS LN.
                                                                     KATY TX 77493
                 Case 6:20-bk-02159-LVV   Doc 1       Filed 04/10/20   Page 35 of 48
                                NICOR GAS                              NV ENERGY
NELBUD SERVICES GROUP, INC      PO BOX 0632                            PO BOX 30086
51 KOWEBA LANE                  AURORA IL 60507-0632                   RENO NV 89520-3086
INDIANAPOLIS IN 46201
                                NINO SALVAGGIO                         O'CONNOR, TRACY
NEPTUNE PLUMBING & HEATING      17496 HALL ROAD                        9741 52ND AVE N
23860 MILES ROAD                CLINTON TOWNSHIP MI 48038              ST. PETERSBURG FL 33708
CLEVELAND OH 44128
                                NJ NATURAL GAS CO.                     OFF THE DOCK FRESH SEAFOOD
NEVADA GOOD SCENTS LLC.         P.O. BOX 11743                         P.O. BOX 18811
P.O. BOX 96924                  NEWARK NJ 07101-4743                   MEMPHIS TN 38181
LAS VEGAS NV 89193
                                NORCIA CONTRACTING                     OFFICE KEEPERS, LLC.
NEVADA LINEN SUPPLY             12025 CENTURY MANOR DRIVE              2324 E. UNIVERSITY DR
3960 W. MESA VISTA AVENUE       DUNKIRK MD 20754                       MESA AZ 85213
LAS VEGAS NV 89118
                                NORTH COAST GASKETS                    OHIO AWNING & MANU.
NEW ENGLAND TEA AND COFFEE CO   33530 PIN OAK PARKWAY                  5777 GRANT AVE
100 CHARLES STREET              AVON LAKE OH 44012                     CLEVELAND OH 44105
MALDEN MA 2148
                                NORTH HILLS LOCK & SAFE                OHIO DEPT OF COMMERCE
NEW JERSEY AMERICAN WATER       962 PERRY HIGHWAY                      2603 DORR ST
BOX 371331                      PITTSBURGH PA 15237                    TOLEDO OH 43607
PITTSBURGH PA 15250-7331
                                NORTH SHORE LINEN, INC.                OHIO DRAFTGUARD, LLC
NEW MEXICO GAS COMPANY          20 RIDER PLACE                         P.O. BOX 532119
PO BOX 27885                    FREEPORT NY 11520                      CINCINNATI OH 45253
ALBUQUERQUE NM 87125-7885
                                NORTHEAST BEVERAGE CO.                 OHIO EDISON
NEW WORLD MARKETING, LLC.       P.O. BOX 1437                          PO BOX 3687
P.O. BOX 1278                   COVENTRY RI 2816                       AKRON OH 44309-3687
DES PLAINES IL 60017-1278
                                NORTHSTAR FACILITY SVCS IN             OHIO SERVICES CLE, LLC.
NEW YORK STATE CORPORATION      30515 CENTURY DRIVE                    9075 TOWN CENTRE DR STE 200
PO BOX 4136                     WIXOM MI 48393                         BROADVIEW HEIGHTS OH 44147
BINGHAMTON NY 13902-4136
                                NORTHTOWN DR. VINY LLC.                OHIO TREASURER OF STATE
NEWPORT MEAT COMPANY INC        17115 PENROSE LANE                     180 E. BROAD STREET
P.O. BOX 19726                  LENEXA KS 66219                        COLUMBUS OH 43215
IRVINE CA 92623-9726
                                NOTL PROPERTY OWNER LLC                OHIO WINDOW CLEANING INC
NEXTECH CENTRAL, LLC.           LOCKBOX 005686                         PO BOX 24039
1045 SOUTH JOHN RODES BLVD      PO BOX 645686                          DAYTON OH 45424
MELBOURNE FL 32904              CINCINNATI OH 45264-5686
                                                                       OKES
NICHOLAS & CO INC               NOVICKY, JARED                         P.O. BOX 720172
5520 W HAROLD GATTY DRIVE       11 Santa Lane                          NORMAN OK 73070
SALT LAKE CITY UT 84116         New Milford CT 6776
                                                                       OKLAHOMA NATURAL GAS
NICOLE MORAN                    NUCO2, INC.                            P.O. BOX 219296
100 RIVERVIEW ROAD              PO BOX 417902                          KANSAS CITY MO 64121-9296
STEVENSVILLE MD 21666           BOSTON MA 02241-7902
                  Case 6:20-bk-02159-LVV   Doc 1   Filed 04/10/20   Page 36 of 48
OLECTRIC, LLC.                   OUR TOWN AMERICA
3937 E. DULCIANA AVENUE          13900 US HIGHWAY 19 N              PASS, LLC.
MESA AZ 85206                    CLEARWATER FL 33764                15 EXECUTIVE DR, STE 6
                                                                    FAIRVIEW HEIGHTS IL 62208-1346
OLIVIERI CONTRACTING, INC        PACC INC.
7633 SUPREME STREET NW           dba DR. VINYL                      PATIO PROPANE, LLC.
NORTH CANTON OH 44720            4734 ROCKFORD PLAZA                7445 E. EAGLE CREST DR.
                                 LOUISVILLE KY 40216                UNIT 1033
OLYMPIA PLUMBING & SEWER                                            MESA AZ 85207
SERVICE INC.                     PACIFIC SEAFOOD ARIZONA
3245 QUAIL RIDGE CIRCLE          C/O PACIFIC SEAFOOD CO.            PATTY ALVAREZ
ROCHESTER MI 48309               P.O. BOX 842757                    100 RIVERVIEW ROAD
                                 BOSTON MA 02284-2757               STEVENSVILLE MD 21666
OLYMPIC II MALL SERVICES
P.O. BOX 19930                   PALM BEACH FIRE EQUIP CO,          PAUL E. NUTZUL
FOUNTAIN HILLS AZ 85269          3965 INVESTMENT LN, A-10           136 12TH STREET
                                 RIVIERA BEACH FL 33404             WEST BABYLON NY 11704
OLYMPIC III MALL SERVICES
P.O. BOX 19930                   PALT CRANBERRY                     PAUL SPINELLI
FOUNTAIN HILLS AZ 85269          5812 DARLINGTON RD                 P.O. BOX 66
                                 PITTSBURGH PA 15217                MIDDLETOWN NJ 7748
OPEN TABLE INC
29109 NETWORK PLACE              PAMELA BARRETT                     PAYTRONIX
CHICAGO IL 60673-1291            100 RIVERVIEW ROAD                 80 BRIDGE STREET
                                 STEVENSVILLE MD 21666              NEWTON MA 2458
OPENonline
P.O. BOX 182520                  PAMELA M. SMITH, R.D.N.            PEDRO HERNANDEZ
COLUMBUS OH 43218-2520           P.O. BOX 541009                    1011 NW 156TH AVE
                                 ORLANDO FL 32854-109               PEMBROKE PINES FL 33028
OPTIMUM CARD SOLUTIONS LLC
855 S FIENE DRIVE                PAMELA Y ROBERTO CONGA             PEERLESS ELCTRIC CO., INC.
ADDISON IL 60101                 595 JEFFERSON DR, APT 116          7325 PRODUCTION DRIVE
                                 DEERFIELD BEACH FL 33442           UNIT A
OPTIMUM PRINT SOLUTIONS IN                                          MENTOR OH 44060
5051 FREEWAY DRIVE EAST          PAR 3 LANDSCAPE & MAINTENA
COLUMBUS OH 43229                4610 WYNN RD, STE B                PEGASUS BUILDING SERVICES
                                 LAS VEGAS NV 89103                 P.O. BOX 711
ORLANDO FINEST BREADS                                               NUTLEY NJ 7110
7777 GRAND AVE                   PARAMOUNT LAUNDRY INC.
CLEVELAND OH 44104-3099          P.O. BOX 30409                     PENN POWER
                                 LINCOLN NE 68503                   PO BOX 3687
ORLANDO UTILITIES COMMISSION                                        AKRON OH 44309-3687
P.O. BOX 31329                   PARAMOUNT SERVICES INC
TAMPA FL 33631-3329              PO BOX 3987                        PEOPLES GAS
                                 BIRMINGHAM AL 35208                PO BOX 644760
ORNELA PERRI                                                        PITTSBURGH PA 15264-4760
100 RIVERVIEW ROAD               PARKING MANAGEMENT COMPANY
STEVENSVILLE MD 21666            306 42ND AVE N                     PEPSI-COLA COMPANY
                                 NASHVILLE TN 37209                 75 REMIITANCE DRIVE
OTIS ELEVATOR COMPANY                                               CHICAGO IL 60675-1884
P.O. BOX 73579                   PASQUALE GARGIULO
CHICAGO IL 60673-7579            100 RIVERVIEW ROAD                 PERFECTEMP, INC.
                                 STEVENSVILLE MD 21666              125 ROBERT JACKSON WAY
                     Case 6:20-bk-02159-LVV   Doc 1       Filed 04/10/20   Page 37 of 48
UNIT A                                                                FORT LAUDERDALE FL 33312
PLAINVILLE CT 6062                  PMP INC DBA
                                    GOLDEN RULE PLUMBING, HEATING     PRIME TIME PARTY RENTAL INC
PERKS KEY & LOCK INC.               AND COOLING 804 NORTH MAIN STREET 5225 SPRINGBORO PIKE
11324 ARCADE DR #24                 GRIMES IA 50111                   WEST CARROLLTON OH 45439
LITTLE ROCK AR 72212
                                    PNM                                    PRIORITY SYSTEMS, INC
PFP COLUMBUS II, LLC.               PO BOX 17970                           5221 W. NAPOLEON AVENUE
HUNTINGTON NATIONAL BANK            DENVER CO 80217-0970                   METAIRIE LA 70001
L-3581
COLUMBUS OH 43260                   POMEROY ELECTRIC INC                   PRISA LHC, LLC
                                    3131 SW 13TH DR                        PRLHC MERCATO RETAIL
PIAZZA PRODUCE                      DEERFIELD BEACH FL 33442               P.O. BOX 732937
PO BOX 68931                                                               DALLAS TX 75373-2937
INDIANAPOLIS IN 46268-0931          POPS ELECTRIC, LLC.
                                    P.O. BOX 291                           PRISM ELECTRIC, INC
PIEDMONT NATURAL GAS                BERLIN NJ 8009                         2985 MARKET ST
PO BOX 1246                                                                GARLAND TX 75041
CHARLOTTE NC 28201-1246             PORTER 1 LLC
                                    476 Old Smizor Mill #164               PRISTINE PLUMBING, INC
PIEDMONT ROW DRIVE LLC              Fenton MO 63026                        16 TECHNOLOGY DRIVE
PO BOX 310300                                                              SUITE 141
REFERENCE 258810                    PORTER'S CLEANING CO.                  IRVINE CA 92618
DES MOINES IA 50331-0300            8300 CHESAPEAKE BLVD
                                    NORFOLK VA 23518                       PRISTINO CLEANING
PINNACLE COMMERCIAL SVC                                                    SOLUTIONS, INC.
1621 CARANDIS ROAD                  POVINELLI CUTLERY SHARPENING           110 NOTTINGHAM PL
WEST PALM BEACH FL 33406            3810 UNION ROAD                        BOYNTON BEACH FL 33426
                                    CHEEKTOWAGA NY 14225
PITNEY BOWES INC                                                           PRO GASKET GUY, LLC
PO BOX 371887                       PPINC LLC                              22820 I-45 NORTH
PITTSBURGH PA 15250-7887            2672 SW 36TH STREET                    UNIT 4J
                                    DANIA BEACH FL 33312                   SPRING TX 77373
PITNEY BOWES PURCHASE POWE
PO BOX 371874                       PPL ELECTRIC UTILITIES                 PRO OnCALL TECHNOLOGIES
PITTSBURGH PA 15250-7874            2 NORTH 9TH STREET CPC-GENN1           6902 E. KEMPER RD
                                    ALLENTOWN PA 18101-1175                CINCINNATI OH 45249
PLANTERRA CORPORATION
7315 DRAKE RD                       PREFERRED PRECISION SPECIALTY          PRO TECH RESTAURANT SERV.
WEST BLOOMFIELD MI 48322            3201 SW 11TH ST CIRCLE                 PO BOX 60232
                                    BLUE SPRINGS MO 64015                  FORT MYERS FL 33906-6232
PLANTSCAPERS, INC.
17281 EASTMAN                       PREMIER PATIO HEATING                  Produce Alliance LLC
IRVINE CA 92614                     P.O. BOX 6470                          PO BOX 7762
                                    OCEANSIDE CA 92052                     CAROL STREAM IL 60197-7762
PLATINUM HOODS LLC.
4920 HIGHWAY 55                     PRESTCO PROFESSIONAL SERV              PROFESSIONAL LOCK INC
WILSONVILLE AL 35186                ENVIRO-MASTER SERVICES                 PO BOX 7968
                                    P.O. BOX 12350                         FREDERICKSBURG OH 22404-7968
PLM VENTURES, INC.                  CHARLOTTE NC 28220
dba ALL STAR PROPERTY SERVICES                                             PROFESSIONAL WASTE MGMT
10706 S. PIPELINE RD. STE 150       PRIME LINE DISTRUBTORS, INC            2436 N FEDERAL HWY
HURST TX 76053                      2800 SW 42ND STREET                    SUITE 218
                  Case 6:20-bk-02159-LVV   Doc 1    Filed 04/10/20   Page 38 of 48
LIGHTHOUSE POINT FL 33064        2221 BUECHEL AVE, STE 10            REES FLOWERS AND FINE GIFT
                                 LOUISVILLE KY 40218                 P.O. BOX 30850
PROFISH LTD                                                          GAHANNA OH 43230
1900 FENWICK ST NE               QUALITY RETAIL SYSTEMS
WASHINGTON DC 20002              1531 NY RTE 67                      REFRIGERATED SPECIALIST
                                 SCHAGHTICOKE NY 12154               3040 EAST MEADOWS
PROFORMA                                                             MESQUITE TX 75150
6341 NICHOLAS DRIVE              R & B COMMERCIAL SERVICE
COLUMBUS OH 43235                PO BOX 36378                        REGINALDO WANDERSON
                                 ALBUQUERQUE NM 87176-6378           2040 El Verano Cr.
PROPANE PEOPLE                                                       Apt. F
2544 SW 36TH LANE                R MASTIN SEPTIC TANK INC            Charlotte NC 28210
CAPE CORAL FL 33914              12004 WATERVILLE SWANTON RD
                                 WHITEHOUSE OH 43571                 REINHOLD ELECTRIC, INC
PRYOR MECHANICAL, LLC                                                2511 LEMAY FERRY RD
221 NW 180TH STREET              R.P. BIEDERMAN CO. INC.             ST. LOUIS MO 63125
SMITHVILLE MO 64089              75 SMALLEY BLVD.
                                 HAMILTON OH 45013                   RELIABLE SEWER CLEANING
PSE&G CO                                                             PO BOX 5163
P O BOX 14444                    RAMCO-GERSHENSON PROPERTIES         TOLEDO OH 43611
NEW BRUNSWICK NJ 08906-4444      dba DEERFIELD TOWNE CENTER
                                 P.O. BOX 350018                     RELIANT ENERGY
PSEGLI                           BOSTON MA 02241-0518                DEPT. 0954
P.O. BOX 9039                                                        P.O. BOX 120954
HICKSVILLE NY 11802-9039         RASPER PLUMBING, INC.               DALLAS TX 75312-0954
                                 P.O. BOX 69
PUBLIC STORAGE                   MIAMISBURG OH 45343                 RENEGADE OIL INC.
08097 - 23034 ROCHESTER HILLS                                        1141 S. 3200 W.
1920 ENTERPRISE DR               RAVEN MECHANICAL, LP                SALT LAKE CITY UT 84104
ROCHESTER MI 48309-3803          1618 BUSCHONG
                                 HOUSTON TX 77039                    RENTOKIL NORTH AMERICAN
PYRAMID WALDEN COMPANY                                               PO BOX 14095
M&T BANK                         RCI ENTERPRISES                     READING PA 19612
PO BOX 8000 DEPT NO 496          PO BOX 16360
BUFFALO NY 14267                 CHESAPEAKE VA 23328                 REPAIR 24 LLC
                                                                     8532 VIRGINIA MEADOWS DRIVE
PYROTECH, INC                    RCN                                 MANASSAS VA 20109
9483 DIELMAN ROCK ISLAND         P O BOX 11816
INDUSTRIAL DRIVE                 NEWARK NJ 07101-8116                REPUBLIC SERVICES #794
ST LOUIS MO 63132                                                    PO BOX 78829
                                 RED BOOK SOLUTIONS                  PHOENIX AZ 85062-8826
QUAKER ASSOCIATES, LLC           33270 COLLECTION CENTER DR
dba QUAKER BRIDGE MALL           CHICAGO IL 60693-0332               REPUBLIC SERVICES OF NJ
P.O. BOX 829443                                                      P O BOX 9001099
PHILADELPHIA PA 19182-9443       RED HAWK FIRE & SECURITY            LOUISVILLE KY 40290-1765
                                 P.O. BOX 530212
QUALITY COFFEE AND TEA           ATLANTA GA 30353                    RESTAURANT MECHANICAL SERV
SERVICES, INC.                                                       PO BOX 236116
5235 W. CHARLESTON BLVD.         RED RIVER GASKET, LLC.              COLUMBUS OH 43223-6116
LAS VEGAS NV 89146               dba GASKET GUY OF OKLAHOMA
                                 P.O. BOX 721648
QUALITY KITCHEN SERVICE          OKLAHOMA CITY OK 73172
PARTS DIVISION, INC
                  Case 6:20-bk-02159-LVV      Doc 1      Filed 04/10/20   Page 39 of 48
RESTAURANT PARTNERS PROCUR                                                ROYAL CUP INC
3501 EAST LIVINGSTON ST              AMBRIDGE PA 15003                    PO BOX 841000
SUITE 201                                                                 DALLAS TX 75284-1000
ORLANDO FL 32803                     ROBERT J SZYMANSKY
                                     1409 NE TODD GEORGE RD.              ROYAL FRANCHISING INC
RESTAURANT SERVICES                  LEES SUMMIT MO 64086                 DBA JANI-KING OF MILWAUKEE
140 MILL ST                                                               P.O. BOX 1430
WATERLOO WI 53594                    ROBERT JANKOVIC                      BROOKFIELD WI 53008-1430
                                     201 BALFIELD TERRACE
RESTAURANT TECHNOLOGIES              CHERRY HILL NJ 8003                  ROYAL PUBLISHING
12962 COLLECTIONS CENTER DR                                               7620 N. HARKER DRIVE
CHICAGO IL 60693                     ROBIN WILSON                         PEORIA IL 61615-1849
                                     100 RIVERVIEW ROAD
RETAIL PROPERTIES OF AMERICA, INC.   STEVENSVILLE MD 21666                RREEF CONTINENTAL MASTER TRUST
dba RPAI SOUTHWEST MGMT LLC                                               P.O. BOX 209266
15105 COLLECTIONS CENTER DRIVE       ROCHESTER ARMORED CAR                AUSTIN TX 78720-9266
CHICAGO IL 60693-5105                P.O. BOX 8 -D.T.S.
                                     OMAHA NE 68101                       RUMPKE WASTE
RETAIL PROPERTIES OF AMERICA                                              P.O. BOX 538710
C/O RPAI US MANAGEMENT LLC           RODRIGUEZ RIVERA JORGE ALB           CINCINNATI OH 45253
13068 COLLECTIONS CENTER DR          2223 N WEST SHORE BLD
CHICAGO IL 60693-0130                SUITE B209                           RUSSELL REID WASTE HAULING
                                     TAMPA FL 33607                       DISPOSAL SERVICE CO. INC.
REX MCCLURE                                                               dba MR. JOHN PORTABLE
dba SUPER KLEEN CARPET               Rookwood Exchng Operating            PO BOX 130
P.O. BOX 1277                        3825 EDWARDS RD.                     KEASBEY NJ 8832
POWELL TN 37849-1277                 SUITE 200
                                     CINCINNATI OH 45209                  S.A. COMUNALE CO INC
RICHARD M. BEATO                                                          2900 NEWPARK DRIVE
68 Willow Cedar Way                  ROOTER EXPRESS, LLC                  BARBERTON OH 44203
Blackwood NJ 8012                    1311 WEST CREEKHAVEN DRIVE
                                     RIVERTON UT 84065                    SAGEMORE MANAGEMENT, LLC.
RICHARD UMBERGER                                                          t/a THE PROMENADE AT SAGEMORE
P.O. BOX 10103                       ROSALINA C LYNCH                     8000 SAGEMORE DR STE 8201
KANSAS CITY MO 64171                 1936 PICKLE RD.                      MARLTON NJ 8053
                                     OREGON OH 43616
RIFCO SERVICES INC                                                        SAM RUST SEAFOOD INC
dba JAN PRO CLEANING SYSTEMS         ROTO ROOTER                          620 REGIONAL DR
11-B OAK BRANCH DRIVE                274 BOWHALL ROAD                     PO BOX 9760
GREENSBORO NC 27407                  PAINESVILLE OH 44077                 HAMPTON VA 23670

RITE-AIR MECHANICAL SERVIC           ROTO ROOTER PLUMBERS                 SAMCO SALES & SERVICE INC.
109 EDGEWOOD AVE                     5672 COLLECTION CENTER DR            11878 BROOKFIELD ST.
BELLMAWR NJ 8031                     CHICAGO IL 60693                     LIVONIA MI 48150

RM MEMBER LLC                        ROTO ROOTER SERVICES                 SAMMY'S SEAFOOD
RANCHO MALL, LLC                     5672 COLLECTION CENTER DR            2875 46TH AVE N
P.O. BOX 72439                       CHICAGO IL 60693                     ST. PETERSBURG FL 33714
CLEVELAND OH 44192
                                     ROUSE - PARK MEADOWS, LLC            SANDERS PLUMBING
RMS MECHANICAL SERVICES              P.O. BOX 86                          412 PARKER STREET
2301 DUSS AVE                        MINNEAPOLIS MN 55486-3096            NORTH LITTLE ROCK AR 72114
                 Case 6:20-bk-02159-LVV   Doc 1    Filed 04/10/20   Page 40 of 48
ANDREW SANDNASAMY               SEAN MCGUINNESS, INC.               SHAMROCK FOODS
101 SAIL BOAT RUN               dba EARTHCARE LANDSCAPE SVCS        ACCOUNTS RECEIVABLE
APT 1A                          5111 TAMARIND RIDGE DR              P.O. BOX 843539
CENTERVILLE OH 45458            NAPLES FL 34119                     LOS ANGELES CA 90084-3539

SANIBEL INVESTMENTS, INC.       SEATTLE FISH CO INTL                SHAW MECHANICAL SERVICES
dba CROWN CLEANING              4300 N. MATTOX RD.                  997 W. KENNEDY BLVD. 14A
6447 VISTA DRIVE                RIVERSIDE MO 64150                  ORLANDO FL 32810
SHAWNEE KS 66218
                                SEATTLE FISH COMPANY                SHEARER PATIO & LANDSCAPE
SANTA MONICA SEAFOOD CO         2500 COMANCHE RD NE                 3362 MARCLIFF DRIVE
18531 BROADWICK STREET          ALBUQUERQUE NM 87107                LEWIS CENTER OH 43035
RANCHO DOMINGUEZ CA 90220
                                SECURITY NETWORK INC                SHI INTERNATIONAL CORP
SAPPHIRE CLEAN CORP             1324 DUBLIN RD                      P.O. BOX 952121
13750 SE 54TH STREET            COLUMBUS OH 43215-1093              DALLAS TX 75395-2121
MORRISTON FL 32668
                                SECURITY SELF STORAGE               SHINY KITCHEN II, INC
SARASOTA SEAFOOD COMPANY        1099 BRADLEY ROAD                   P.O. BOX 347910
15745 CANTERBURY CHASE          WESTLAKE OH 44145                   PITTSBURGH PA 15251-4910
APHARETTA GA 30004
                                SECURITY USA INC                    SHRED IT
SAVINGS LIQUID WASTE            5801 MCLEOD RD. NE                  1370 RESEARCH ROAD
PO BOX 25                       SUITE A                             GAHANNA OH 43230
HARRISON OH 45030               ALBUQURQUE NM 87109
                                                                    SHRED-IT USA, INC.
SCHAGRIN GAS                    SEDGWICK CLAIMS MGMT                10900 LACKMAN ROAD
P.O. BOX 427                    P.O. BOX 5076                       LENEXA KS 66219
MIDDLETOWN DE 19709-0427        MEMPHIS TN 38101-5076
                                                                    SIGNATURE STAFF RESOURCES
SCHINDLER ELEVATOR CORPORA      SERVACUP OFFICE COFFEE              1460 TL TOWNSEND DR STE 104
PO BOX 93050                    P.O. BOX 521006                     ROCKWALL TX 75032
CHICAGO IL 60673-3050           SALT LAKE CITY UT 84152-1006
                                                                    SILVER SPIRITS
SCHNEIDERS PREMIUM SEAFOOD      SERVCO, LLC.                        1482 N. PORTAGE PATH
2150 OLD UNION ROAD             701 BAGLEY DRIVE                    AKRON OH 44313
BUFFALO NY 14227                TRUSSVILLE AL 35173
                                                                    SIMPLEVIEW LLC.
SCHOOLCRAFT COMMONS UNIT3       SERVICE WET GRINDING                dba DESTINATION TRAVEL NETWORK
C/O ETKIN MANAGEMENT, LLC       1867 PROSPECT AVE                   8950 N ORACLE ROAD
150 W. 2ND STREET SUITE 200     CLEVELAND OH 44115                  TUCSON AZ 85704
ROYAL OAK MI 48067
                                SERVISOFT OF MIDDLEFIELD            SLB PRINTING INC
SEAFOOD SUPPLY CO               14299 KINSMAN RD                    2818 S. ROBERTSON BLVD
1500 E GRIFFIN                  PO BOX 174                          LOS ANGELES CA 90034
DALLAS TX 75215                 BURTON OH 44021-0174
                                                                    SLIDER MAN LLC
SEAMAN'S AIR CONDITIONING       SEWER SPECIALISTS FIRST             1028 SE 12TH CT
2510 OAK INDUSTRIAL DR. NE      6204 LANSING RD US 27               CAPE CORAL FL 33990
GRAND RAPIDS MI 49505           LANSING MI 48917
                                                                    SMART STOP SELF STORAGE
                                                                    10451 NW 33RD ST.
                                                                    DORAL FL 33172
                 Case 6:20-bk-02159-LVV   Doc 1      Filed 04/10/20   Page 41 of 48
                                SOUTHWASTE DISPOSAL LLC
SNYDER BROTHERS INC.            P.O. BOX 53988                        STANLEY SEPTIC SERVICE
ONE GLADE PARK EAST             LAFAYETTE LA 70505-3988               PO BOX 184
P.O. BOX 1022                                                         131 MARIPOSA ROAD
KITTANNING PA 16201             SOUTHWEST GAS CORPORATION             STANLEY NC 28164
                                PO BOX 98890
SoCalGas                        LAS VEGAS NV 89193-8890               STANLEY STEEMER INT’L.
P.O. BOX C                                                            P.O. BOX 205819
MONTEREY PARK CA 91756-5111     SOUTHWEST SEAFOOD INC                 DALLAS TX 75320-5819
                                P.O. BOX 36384.
SOIREE PARTNERS                 HOUSTON TX 77236                      STAPLES ADVANTAGE
3401 LIBERTY AVENUE                                                   P.O. BOX 70242
PITTSBURGH PA 15201-1322        SPARTAN HOLDINGS LLC                  PHILADELPHIA PA 19176-0242
                                C/O OLIVER SMITH REALTY
SOMERSET COLLECTION LTD PT      7216 WELLINGTON DR STE 1              STARK COUNTY METROPOLITAN
16129 COLLECTIONS CENTER DR     KNOXVILLE TN 37919                    SEWER DISTRICT
CHICAGO IL 60693                                                      P.O. BOX 9972
                                SPECIALTY SALES INC.                  CANTON OH 44711-0972
SOMMERS, DENNIS                 dba SPECIALTY ENTERPRISES
1615 CARROLLTON AVE             245 NW 52ND                           STAR-WEST FRANKLIN PK MALL
KETTERING OH 45409              DES MOINES IA 50313                   P.O. BOX 398008
                                                                      SAN FRANCISCO CA 94139-8008
SOUTH JERSEY GAS                SPEELMAN ELECTRIC INC
P.O. BOX 6091                   358 COMMERCE STREET                   STEAM SOURCE, INC.
BELLMAWR NJ 08099-6091          TALLMADGE OH 44278                    3049 SALEM INDUSTRIAL DRIVE
                                                                      WINSTON SALEM NC 27127
SOUTHEAST LINEN ASSOCIATES      SPIRE
4508 W 46TH STREET              DRAWER 2                              STEEL CITY GREASE TRAPS INC
CHICAGO IL 60632                ST. LOUIS MO 63171                    3608 SPRING GARDEN RD
                                                                      PITTSBURGH PA 15212
SOUTHERN CALIFORNIA EDISON      SPOTSYLVANIA TOWNE CENTER
P.O. BOX 300                    PO BOX 932400                         STEFANKIEWICZ, DANIEL
ROSEMEAD CA 91772-0001          CLEVELAND OH 44193                    19 SAND DOLLAR DRIVE
                                                                      CAPE MAY COURT HOUSE, NJ 8210
SOUTHERN FIRE PROTECTION        SPRING BREZE BROWARD LLC
OF ORLANDO, INC                 11301 SOUTH DIXIE HWY #565776         STEPHAN SIBERT
3801 EAST STATE ROAD 46         MIAMI FL 33256                        100 RIVERVIEW ROAD
SANFORD FL 32771                                                      STEVENSVILLE MD 21666
                                SRMF TOWN SQUARE OWNER
SOUTHERN SECURITY & IRON        P.O. BOX 748550                       STEVEN DEGEORGE
128 12TH STREET                 LOS ANGELES CA 90074-8550             100 RIVERVIEW ROAD
BRIDGE CIY LA 70094                                                   STEVENSVILLE MD 21666
                                STANDARD PLUMBING & HEATING
SOUTHGATE MALL OWNER LLC        435 WALNUT AVE. SE                    STOLL RUG AND FURNITURE
c/o BANK OF AMERICA             CANTON OH 44702                       5240 LEWIS AVE
P.O. BOX 57186                                                        TOLEDO OH 43612
LOS ANGELES CA 90074-7186       STANDARD RESTUARANT EQUIP
                                879 SOUTH 4400                        STRAUB DISTRIBUTING CO
SOUTHLAND LANDSCAPES, LLC.      SALT LAKE CITY UT 84104               4633 E. PALMA AVE.
4909 BALL RD.                                                         ANAHEIM CA 92807
KNOXVILLE TN 37931              STANLEY CONVERGENT SEC.
                                DEPT CH 10651
                                PALATINE IL 60055
                  Case 6:20-bk-02159-LVV    Doc 1     Filed 04/10/20   Page 42 of 48
STRAUSE REFRIGERATON INC                                               TARANTINO FOODS LLC
7944 W CENTRAL AVE UNIT 8        SYSCO ARKANSAS. LLC                   530 BAILEY AVENUE
TOLEDO OH 43617                  P.O. BOX 193410                       BUFFALO NY 14206
                                 LITTLE ROCK AR 72219-3410
SUBURBAN DOOR CHECK &                                                  TB MALL AT UTC, LLC.
LOCK SERVICE, INC.               SYSCO CORPORATION                     dba THE MALL AT UNIV TOWN CNT
415 W. OGDEN AVENUE              Sysco Business Services               P.O. BOX 674647
WESTMONT IL 60559                24500 Northwest Freeway               DETROIT MI 48267-4647
                                 Crypress TX 77429
SUBURBAN NATURAL GAS CO.                                               TBE INC.
PO BOX 130                       SYSCO IOWA, INC.                      dba SONITROL OF PITTSBURGH
CYGNET OH 43413-0130             P.O. BOX 874                          610 MELWOOD AVENUE
                                 DES MOINES IA 50304-0874              PITTSBURGH PA 15213
SULLIVAN COMPANY
130 GRAPHIC WAY                  SYSCO LINCOLN                         TEASDALE FENTON CARPET
WESTERVILLE OH 43081             P.O. BOX 80068                        CLEANING & RESTORATION, LLC.
                                 LINCOLN NE 68501-0068                 12145 CENTRON PLACE
SUMMIT VALET PARKING, LLC                                              CINCINNATI OH 45246
8939 E. OTERO PLACE              SYSCO NEW MEXICO
CENTENNIAL CO 80112              601 COMANCHE NE                       TECH 24 - COMMERCIAL REPAIR
                                 ALBUQUERQUE NM 87107                  410 E. WASHINGTON STREET
SUNI LC                                                                GREENVILLE SC 29601
4580 SILVER SPRINGS DR           SYSTEM4, LLC
STE 300                          4700 ROCKSIDE RD.                     TECO PEOPLE'S GAS
PARK CITY UT 84098               STE. 610                              600 W ROBINSON STREET
                                 INDEPENDENCE OH 44131                 ATTN: BOB GODEK
SUPERB SUPPLIES & SERVICES                                             ORLANDO FL 32801
P.O. BOX 2711                    T&T PRODUCE
BURLESON TX 76097                PO BOX 5756                           TED INC.
                                 FORT OGLETHORPE GA 30742              4411 BEE RIDGE RD.
SUPERIOR KNIFE, LLC                                                    PMB#307
6235 W. HOWARD STREET            T. L. SHEET METAL, INC.               SARASOTA FL 34233
NILES IL 60714                   P.O. BOX 8838
                                 TAMPA FL 33674                        TEMUA
SUPERIOR LOCK & KEY, LLC                                               P.O. BOX 467
636 S. ROCHESTER RD.             TAE H LEE                             MARLTON NJ 08053-0467
ROCHESTER HILLS MI 48307         10432 ABISSO DRIVE
                                 LAS VEGAS NV 89135                    TERRY'S PLUMBING SERVICE I
SUPREME LOBSTER & SEAFOOD                                              2240 INDUSTRIAL BLVD
220 E. NORTH AVENUE              TALBOTT'S FLOWERS                     SARASOTA FL 34234
VILLA PARK IL 60181-1221         22 N STATE ST
                                 WESTERVILLE OH 43081                  TEXAS GAS SERVICE
SWANSON ELECTRICAL SVCS                                                P.O. BOX 219913
1511 10 MILE RD NW               TAMPA WESTSHORE ASSOC. LTD            KANSAS CITY MO 64121-9913
SPARTA MI 49345                  DEPARTMENT 177001
                                 PO BOX 67000                          THE CHEFS WAREHOUSE
SWEET HONEY, INC.                DETROIT MI 48267-0002                 26576 NETWORK PLACE
P.O. BOX 7512                                                          CHICAGO IL 60673-1265
URBANDALE IA 50323               TANNER GLASS & HARDWARE LL
                                 7139 SOUTH 700 WEST                   THE CHEFS WAREHOUSE MIDWES
SYMMETRY FINANCIAL CONSULTING    MIDVALE UT 84047                      26576 NETWORK PLACE
410 SHIMMERING WATER LANE                                              CHICAGO IL 60673-1265
SALEM SC 29676
                  Case 6:20-bk-02159-LVV   Doc 1   Filed 04/10/20   Page 43 of 48
THE CLEANING PEOPLE INC.         THE SPECIALTY WIRING CO            TIPTON LINEN SERVICE
6244 CHARLES ST                  7222 SHANNON RD                    1415 INDEPENDENCE
2ND FLOOR                        VERONA PA 15147                    CAPE GIRARDEAU MO 63703
PHILADELPHIA PA 19135
                                 CITY CREEK CENTER ASSOC LLC        TLC COMPANY, INC
THE ELECTRIC CONNECTION          PO BOX 674566                      5000 EDITH BLVD NE
5441 WESTERVILLE RD.             DETROIT MI 48267-4566              ALBUQUERQUE NM 87107
WESTERVILLE OH 43081
                                 THE WALDINGER CORPORATION          TLC SERVICES, INC.
THE ESPRESSO MAN LLC.            P.O. BOX 1612                      1226 MONTEGUT STREET
2654 MAN OF WAR CIRCLE           DES MOINES IA 50306-1612           NEW ORLEANS LA 70117
SARASOTA FL 34240
                                 THE WOODLANDS MALL ASSOCIATION     TM PARTRIDGE CREEK MALL, L
THE FALLS SHOPPING CENTER        P.O. BOX 86                        75 REMIITTANCE DRIVE
ASSOCIATES, LLC.                 MINNEAPOLIS MN 55486-3053          DEPT. 1311
P.O. BOX 404566                                                     CHICAGO IL 60654-1311
ATLANTA GA 30384-4566            THE WOODLANDS UPHOLSTERY
                                 1018 SAWDUST RD. #1                TM STONY POINT PARK, L.P
THE FLYING LOCKSMITHS            THE WOODLANDS TX 77380             P.O. BOX 75519
500 N. MERIDIAN AVE.                                                ATTN: ACCOUNTS RECEIVABLE
SUITE 108-B                      THREE G SERVICES INC               BALTIMORE MD 21275-5519
OKLAHOMA CITY OK 73107           585 HIBBS ROAD
                                 LOCKBOURNE OH 43137                TOLEDO EDISON
THE HAPPY CHEF, INC.                                                PO BOX 3687
22 PARK PLACE                    TIC INVESTMENT COMPANY             AKRON OH 44309-3687
BUTLER NJ 7405                   DBA THE IRVINE COMPANY LLC
                                 P.O. BOX 844611                    TOPSHELF RBS, LLC.
THE HILLER COMPANIES, INC.       LOS ANGELES CA 90084-4611          PO BOX 840
P.O. BOX 935434                                                     ALCOA TN 37701
ATLANTA GA 31193-5434            TIERNEY STATIONERY COMPANY
                                 PO BOX 32256                       TORKE COFFEE ROASTING COMP
THE ILLUMINATING COMPANY         KANSAS CITY MO 64171               PO BOX 694
PO BOX 3687                                                         SHEBOYGAN WI 53082
AKRON OH 44309-3687              TIME WARNER CABLE
                                 BOX 223085                         TOTAL LINE REFRIGERATION
THE LION'S CLEANING              PITSBURGH PA 15251-2085            33530 PIN OAK PARKWAY
SERVICES, LLC.                                                      AVON LAKE OH 44012
1327 SCHOLAR ST.                 TIME WARNER CABLE NORTHWES
LOUISVILLE KY 40213              PO BOX 0901                        TOTAL LINEN CARE
                                 CAROL STREAM IL 60132-0901         23 ACADEMY STREET
THE LOCK UP STORAGE CENTER                                          WILLIAMSTOWN NJ 8094
1200 PINE RIDGE ROAD             TIME WARNER CABLE SWO
NAPLES FL 34108                  PO BOX 1060                        TOWNSHIP OF FAYETTE
                                 CAROL STREAM IL 60132-1060         NORTH FAYETTE MUNICIPAL
THE POWER OF TOOLS                                                  400 NORTH BRANCH RD
27157 CASTLE ARCH CT.            TIME WARNER GREENSBORO             OAKDALE PA 15071-3646
KINGWOOD TX 77339                PO BOX 4617
                                 CAROL STREAM IL 60197-4617         TOWNSHIP OF FREEHOLD
THE SHOPS AT LA CANTERA                                             WATER & SEWER DEPT
PO BOX 86                        TIMOTHY R. SULLIVAN                1 MUNICIPAL PLAZA
MINNEAPOLIS MN 55486-2532        4535 MCKNIGHT RD                   FREEHOLD NJ 07728-3099
                                 PITTSBURGH PA 15237
                  Case 6:20-bk-02159-LVV   Doc 1     Filed 04/10/20   Page 44 of 48
TRADEMASTERS, INC.               UGI UTILITIES INC                    V.I.P. INC.
2444 HELENA STREET               P O BOX 15503                        1155 E. SIXTH AVE.
SUITE B                          WILMINGTON DE 19886-5503             LANCASTER OH 43130
KENNER LA 70062
                                 ULLMAN ELECTRIC INC                  VALLEY PROTEINS INC
TREASURER, SPOTSYLVANIA CO.      3901 CHESTER AVE                     PO BOX 643393
BUSINESS LICENSE DIVISION        UNIT B                               CINCINNATI OH 45264-3393
PO BOX 175                       CLEVELAND OH 44114
SPOTSYLVANIA VA 22553-0175                                            VALLEY REFRIGERATION SVC I
                                 ULTRA-CHEM                           627 N WAYNE AVE
TRINTECH INC                     P.O. BOX 14608                       CINCINNATI OH 45215
P.O. BOX 205367                  LENEXA KS 66285
DALLAS TX 75320-5367                                                  VANCO LEASING, LLC.
                                 ULTRAPOM LLC.                        8025 CASTLEWAY DRIVE
TRI-R MECHANICAL SERVICES        dba ULTRAPOM EVENT RENTAL            INDIANAPOLIS IN 46250
150 EMPIRE DRIVE                 3175 TERRACE STREET
WEST SENECA NY 14224             KANSAS CITY MO 64111                 VECTREN ENERGY DELIVERY
                                                                      PO BOX 6248
TRUSTWAVE                        UNDER PRESSURE WASHING LLC           INDIANAPOLIS IN 46206-6248
75 REMITTANCE DRIVE              20801 69TH AVE. EAST
SUITE 6000                       BRADENTON FL 34211                   VEGAS INK AND TONER
CHICAGO IL 60675-6000                                                 6811 S. EASTERN AVE.
                                 UNITED HEATING & COOLING I           SUITE 102B
TUCKER, MARICHKA                 301 DUCK RD.                         LAS VEGAS NV 89119
13921 SW 122nd Avenue            GRANDVIEW MO 64030
Apt 8-106                                                             VERIZON
Miami FL 33186                   UNITED RENTAL                        P.O. BOX 4830
                                 811 SOUTH 48TH STREET                TRENTON NJ 08650-4830
TURF SERVICE INC                 OMAHA NE 68106
126 MANLEY AVE                                                        VICTOR ENOS
GREENSBORO NC 27407              UNITED SERVICES, INC.                20 MALLBORO DRIVE
                                 P.O. BOX 12509                       NEWARK DE 19702
TWB OXMOOR 2, LLC.               KNOXVILLE TN 37912
ATTN: SPECIAL ASSETS                                                  VILLA LIGHTING SUPPLY
P.O. BOX 34290                   UNUM LIFE INSURANCE COMPANY          2929 CHOUTEAU AVE
LOUISVILLE KY 40232-4290         P.O. BOX 406946                      ST LOUIS MO 63103-2903
                                 ATLANTA GA 30384-6946
TWB OXMOOR 2, LLC.                                                    VILLAGE OF GULFSTEAM
ATTN: SPECIAL ASSETS             UPHOLSTERY SPACE, LLC.               c/o REGIONS BANK
P.O. BOX 34290                   1421 S. COMMERCE ST.                 10425 CENTURION PARKWAY 2ND
LOUISVILLE KY 40232-4290         LAS VEGAS NV 89102                   FLOOR
                                                                      JACKSONVILLE FL 32256
TWO COUSINS FISH MARKET IN       US PROTECTIVE SERVICES
75 BENNINGTON AVENUE             750 W. RESOURCE DR.                  VILLAGE OF GULFSTEAM
FREEPORT NY 11520                CLEVELAND OH 44131                   c/o REGIONS BANK
                                                                      10425 CENTURION PARKWAY 2ND
TYSONS CORNER CENTER             USA TODAY                            FLOOR
TYSON'S CORNER HOLDINGS LLC      305 SEABOARD LANE                    JACKSONVILLE FL 32256
P.O. BOX 849554                  SUITE 301
LOS ANGELES CA 90084-9554        FRANKLIN TN 37067                    VILLAGE OF LOMBARD
                                                                      ATTN: ACCOUNTS RECEIVABLE
                                                                      255 E. WILSON AVE.
                                                                      LOMBARD IL 60148
                   Case 6:20-bk-02159-LVV   Doc 1    Filed 04/10/20   Page 45 of 48
                                  VU HUYNH                            WATERWORKS
VINCENT HEALEY                    100 RIVERVIEW ROAD                  550 SHROCK ROAD
202 SCHANCK ROAD                  STEVENSVILLE MD 21666               COLUMBUS OH 43229
FREEHOLD NJ 7728
                                  WALDEN FLORAL DESIGN CO             WAT-KEM MECHANICAL, INC.
VINTAGE WINE COMPANY              1701 OGDEN AVE                      2755 S. COUNTY RD. 25A
15420 E 12 MILE ROAD              DOWNERS GROVE IL 60515              TROY OH 45373
ROSEVILLE MI 48066
                                  WALT WHITMAN MALL, LLC.             WATTERS CREEK OWNER, LLC.
VINTAGE WINES                     P.O. BOX 776405                     P.O. BOX 677456
20320 CORNILLIE DR                CHICAGO IL 60677-6405               DALLAS TX 75267-7456
ROSEVILLE MI 48066
                                  WASATCH COMFORT                     WCA OF FLORIDA, LLC
VINYL DOCTOR SYSTEMS, INC.        P.O. BOX 651345                     P.O. BOX 4524
P.O. BOX 32086                    SALT LAKE CITY UT 84165             HOUSTON TX 77210-4524
PALM BEACH GARDENS FL 33420
                                  WASHINGTON GAS                      WE ENERGIES
VINYL-MEDIC LLC                   PO BOX 37747                        PO BOX 90001
6105 BAUMGARTNER CROSSING         PHILADELPHIA PA 19101-5047          MILWAUKEE WI 53290-001
ST. LOUIS MO 63129
                                  WASSERSTROM COMPANY                 WEDDINGPAGES INC
VIRGINIA ABC                      P.O. BOX 182056                     11106 MOCKINGBIRD DR
2610 BUTFORD RD                   COLUMBUS OH 43218-2056              OMAHA NE 68137
RICHMOND VA 23235
                                  WASSERSTROM SUPERSTORE              WEST DES MOINES WATER WORK
VIRGINIA BEACH TREASURER          2777 SILVER DR                      PO BOX 402002
MUNICIPAL CENTER BLDG 1           COLUMBUS OH 43211                   DES MOINES IA 50940-2002
2401 COURTHOUSE DR
VIRGINIA BEACH VA 23456-9018      WASTE CONNECTIONS OF TX             WEST EDNA ASSOCIATES, LTD.
                                  P.O. BOX 742695                     dba MOJAVE ELECTRIC
VIRGINIA NATURAL GAS INC          CINCINNATI OH 45274-2695            3755 W. HACIENDA AVENUE
PO BOX 5409                                                           LAS VEGAS NV 89118
CAROL STREAM IL 60197-5409        WASTE MANAGEMENT
                                  3411 NORTH 40TH ST                  WEST FARMS MALL, LLC
VISION SERVICE PLAN               TAMPA FL 33605                      DEPARTMENT 55501
3333 QUALITY DR                                                       PO BOX 67000
RANCHO CORDOVA CA 95670-7985      WATER ZONE INC./ECO WATER           DETROIT MI 48267-0555
                                  1432-B SKEES RD.
VISIT ORLANDO                     WEST PALM BEACH FL 33411            WEST PENN POWER
6277 SEA HARBOR DRIVE                                                 P.O. BOX 3687
SUITE 400                         WATERLOGIC                          AKRON OH 44309-3687
ORLANDO FL 32821-8043             P.O. BOX 677867
                                  DALLAS TX 75267-7867                WEST VIEW WATER AUTHORITY
VORH ASSOCIATES, LLC                                                  PO BOX 747107
JP MORGAN CHASE DEPT#77925        WATERMEN ENTERPRISES, LLC.          PITTSBURGH PA 15274-7105
P.O. BOX 77000                    P.O. BOX 794671
DETROIT MI 48277-0925             DALLAS TX 75379                     WESTCOR SANTAN VILLAGE LLC
                                                                      P.O. BOX 511249
VORYS SATER SEYMOUR &PEASE LLC    WATERSIDE SHOPS LLC                 LOS ANGELES CA 90051
POST OFFICE BOX 373487            16316 COLLECTIONS CENTER DRIVE
CLEVELAND OH 44193                CHICAGO IL 60693                    WESTERN ALLEGHENY COUNTY
                                                                      403 VIRGINIA DR
                                                                      OAKDALE PA 15071-9105
                    Case 6:20-bk-02159-LVV   Doc 1    Filed 04/10/20   Page 46 of 48
                                   WILLIS KLEIN SAFE LOCK &            XTREME CLEAN RESTAURANT, L
WESTERN COMMERCIAL SVCS LL         DECORATIVE HARDWARE                 P.O. BOX 19483
2311 SOUTH INDUSTRIAL ROAD         4041 ESTPORT RD.                    LAS VEGAS NV 89132
LAS VEGAS NV 89102                 LOUISVILLE KY 40207
                                                                       YADIRA STAATZ
WESTERN RESERVE WINDOW             WILLIS TOWERS WATSON SOUTH          100 RIVERVIEW ROAD
CLEANING, LLC                      CONCOURSE CORPORATE CENTER          STEVENSVILLE MD 21666
1064 TALLMADGE ROAD SUITE C        FIVE - 18TH FLOOR
KENT OH 44240                      ATLANTA GA 30328                    YTC BUTTERFIELD OWNER LLC.
                                                                       26073 NETWORK PLACE
WHALEY FOODSERVICE, LLC.           WILLOW LAKE SHOPPING CENTER         CHICAGO IL 60673-1260
P.O. BOX 615                       USRP WILLOW EAST LLC
LEXINGTON SC 29071                 3055 SOLUTIONS CENTER               ZEBEDEE GROUP INC.
                                   CHICAGO IL 60677-3000               4613 NORTH UNIVERSITY DRIVE
WHITE COFFEE CORP                                                      SUITE 383
18-35 38 ST (STEINWAY PLACE)       WILLOWBROOK MALL, LLC               CORAL SPRINGS FL 33067
LONG ISLAND NY 11105               P.O. BOX 86
                                   MINNEAPOLIS MN 55486-2767           ZITO'S LANDSCAPING LLC.
WHITEHALL TOWNSHIP AUTHORI                                             130 ORCHARD AVE.
1901 SCHADT AVENUE                 WINDSTREAM COMMUNICATIONS           GLENSHAW PA 15116
WHITEHALL PA 18052-3728            P.O. BOX 9001908
                                   LOUISVILLE KY 40290-1908            ZOHAR LAW FIRM PC
WHOLESALE SERVICES, LLC.                                               1100 Glendon Avenue
P.O. BOX 4627                      WINDSTREAM ENTERPRISE               Suite 1500
READING PA 19606                   P.O. BOX 9001908                    Los Angeles CA 90024
                                   LOUISVILLE KY 40290-1908
WILL LIKINS                                                            FLORIDA DEPT OF REVENUE
100 RIVERVIEW ROAD                 WINEBOW GROUP, INC.                 400 W. ROBINSON ST., N302
STEVENSVILLE MD 21666              20 HOOK MOUNTAIN ROAD               ORLANDO FL 32801
                                   SUITE 103-A
WILLIAM DALE FLOYD                 PINEBROOK NJ 7058                   FLORIDA DEPT OF REVENUE
9848 DECORSEY PK                                                       2450 SHUMARD OAK BLVD.
RYLAND HEIGHTS KY 41015            WINTER PARK TOWNE CENTER L          TALLAHASSEE, FL 32311
                                   PO BOX 73847
WILLIAM ELEK LIMITED               CLEVELAND OH 44193                  DELAWARE REVENUE DEPT.
1101 AIRPORT RD.                                                       540 S. DUPONT HWY #2
ALLENTOWN PA 18109                 WOODMAN STOP N LOCK                 DOVER DE 19901
                                   1976 WOODMAN CENTER DRIVE
WILLIAM J CIRIELLO PLUMBING        KETTERING OH 45420                  TENNESSEE DEPT OF REVENUE
PO BOX 468                                                             7175 STRAWBERRY PLAINS PIKE
BEECH GROVE IN 46107               WOW! BUSINESS                       #300
                                   P.O. BOX 4350                       KNOXVILLE, TN 37914
WILLIAM R. FIELDS                  CAROL STREAM IL 60197-4350
P.O. BOX 49841                                                         ALABAMA DEPT OF REVENUE
SARASOTA FL 34230                  WSA SYSTEMS BOCA INC                50 N RIPLEY ST
                                   442 N.W. 35th Street                MONTGOMERY AL 36130
WILLIE ITULE PRODUCE. INC.         Boca Raton FL 33431
301 N 45TH AVE                                                         ARIZONA DEPT OF REVENUE
PHOENIX AZ 85043                   XCEL ENERGY                         1600 W MONROE ST
                                   1123 W 3RD AVE                      PHOENIX AZ 85007
                                   ATTN: PHIL RYMAN
                                   DENVER CO 80223
                  Case 6:20-bk-02159-LVV   Doc 1     Filed 04/10/20   Page 47 of 48
ILLINOIS DEPT OF REVENUE         CALIFORNIA DEPT OF TAX AND FEE       NC DEPT OF REVENUE
2309 W MAIN ST, #114             450 N STREET                         MECKLENBURG COUNTY
MARION IL 62959                  SACRAMENTO, CA 95814                 301 MCCULLOUGH DR
                                                                      CHARLOTTE NC 28262
LOUISIANA DEPT OF REVENUE        CALIFORNIA DEPT OF TAX AND FEE
617 N 3RD ST                     2480 HILLBORN RD, STE 200            WAKE COUNTY TAX ADMIN DEPT
BATON ROUGE, LA 70802            FAIRFIELD, CA 94534                  301 S. MCDOWELL ST., #3800
                                                                      RALEIGH, NC 27601
JEFFERSON PARISH ASSESSOR        US TREASURY DEPARTMENT
1221 ELMWOOD PARK BLVD           777 SONOMA AVE, #112                 NEW JERSEY DIVISION OF TAX
NEW ORLEANS, LA 70123            SANTA ROSA, CA 95404                 50 BARRACK ST
                                                                      TRENTON NJ 08608
MI DEPARTMENT OF TREASURY        STATE OF CONNECTICUT
430 W. ALLEGAN ST.               DEPT OF REVENUE SERVICES             NEVADA TAXATION DEPT.
LANCING, MI 48933                450 COLUMBUS BLVD.                   4600 KIETZKE LN, #L235
                                 HARTFORD, CT 06103                   RENO NV 89502
NEBRASKA DEPT OF REVENUE
1313 FARNAM ST., #10TH           INDIANA DEPT OF REVENUE              NEVADA DEPT OF TAXATION
OMAHA, NE 68102                  100 N SENATE AVE                     2550 PASEO VERDE PKWY, #180
                                 INDIANAPOLIS INI 46204               HENDERSON NV 89074
NEBRASKA REVENUE DEPT
301 CENTINNEIAL MALL S           MARION COUNTY TREASURER              NYC DEPT OF FINANCE
LINCOLN NE 68508                 200 E. WASHINGTON ST                 66 JOHN ST., 2ND FLOOR
                                 INDIANAPOLIS IN 46204                NEW YORK, NY 10038
NM DEPT OF TAXATION & REVENUE
1220 S. ST. FRANCIS DR           KANSAS DEPT OF REVENUE               NY STATE DEPT OF TAX & FINANCE
STANTA FE, NM 87505              1883 W 21ST ST.                      HARRIMAN CAMP RD
                                 WICHITA KS 67203                     ALBANY, NY 12226
NM TAXATION & REVENUE DEPT
2540 EL PASEO RD, #2             KDOR - Alcoholic Beverage Control    OHIO DEPT OF TAXATION
LAS CRUCES, NM 88001             Mills Building                       30 E BROAD ST #22
                                 109 SW 9th Street, 5th Floor         COLUMBUS OH 43215
WISCONSIN DEPT OF REVENUE        PO Box 3506
2135 RIMROCK RD                  Topeka, KS 66601-3506                OHIO DEPT OF TAXATION
MADISON WI 53708                                                      4485 NORTHLAND RIDGE BLVD
                                 KENTUCKY DEPT OF REVENUE             COLUMBUS, OH 43224
ARKANSAS REVENUE DEPT.           501 HIGH ST
2610 AR-367                      FRANKFORT, KY 40601                  OKLAHOMA TAX COMMISSION
BALD KNOB AR 72010                                                    2501 N. LINCOLN BLVD.
                                 MISSOURI DEPT OF REVENUE             OKLAHOMA CITY, OK 73194
ARKANSAS ST. REV. DEPT.          301 W. HIGH ST
408 N. ILLINOIS AVE              JEFFERSON CITY, MO 65101             OK DEPT OF COMMERCE
HARRISBURG, AR 72432                                                  900 N STILES AVE
                                 MISSOURI STATE TAX COMMISSION        OKLAHOMA CITY OK 73104
AR CENTRAL REVENUE OFFICE        421 E. DUNKLIN ST
CITY OF LITTLE ROCK              JEFFERSON CITY, MO 65101             PENNSYLVANIA DEPT OF REVENUE
1900 W. 7TH ST                                                        WALNUT ST
LITTLE ROCK, AR 72201            NC DEPT OF REVENUE                   HARRISBURG, PA 17128
                                 501 N WILMINGTON ST
PULASKI COUNTY TREASURER         RALEIGH NC 27604                     PENNSYLVANIA REVENUE DEPT
201 BROADWAY ST, #180                                                 11 PARKWAY CENTER #175
LITTLE ROCK, AR 72201                                                 PITTSBURG, PA 15220
                     Case 6:20-bk-02159-LVV    Doc 1    Filed 04/10/20   Page 48 of 48
John K. Weinstein, Allegheny Co.    Brian O'Malley
Treasurer                           7667 Red Emerald Way
Special Tax Division                Delaware, OH 43015
P.O. Box 534085
Pittsburgh, PA 15253-4085           Khanh P. Collins
                                    22825 Queensbridge Drive
TEXAS COMPTROLLERS OFFICE SALES     Ashburn, VA 20148
TAX
111 E 17TH ST                       Saul Rodriguez
AUSTIN, TX 78701                    833 Grovesmere Loop
                                    Ocoee FL 34761
MIAMI-DADE COUNTY TAX
200 NW 2ND AVE                      Jamie Dillworth
MIAMI, FL 33128                     200 Agnes Ct
                                    Orlando FL 32801
UTAH STATE TAX COMMISSION
210 N 1950 W                        Johnny Imbriolo
SALT LAKE CITY, UH 84134            245 Kincaid Ave
                                    Deland FL 32724
VIRGINIA DEPT OF TAXATION
1957 WESTMORLAND ST                 Edgar Vasconez
RICHMOND, VA 23230                  8298 Lake Amhurst Tr.
                                    Orlando FL 32829
SPOTSYLVANIA COUNTY
Attn: Meals Tax Division            Carolyn Carter
PO Box 175                          7327 Flowering Tree Circle
Spotsylvania, VA 22553-0175         Groveland FL 34736

COLORADO DEPT OF REVENUE            Jim Nuetzi
1375 SHERMAN ST                     1304 N Ferncreek Ave
DENVER CO 80203                     Orlando FL 32803

COLORADO TREASURY DIVISION
201 W. COFAX AVE, UNIT 1109
DENVER CO 80203

CITY OF LONE TREE COLORADO
9220 Kimmer Dr., Suite 100
Lone Tree, Colorado 80124

COMPTROLLER OF MARYLAND
301 W. PRESTON ST.
BALTIMORE, MD 21201

DEPT OF ASSESSMENTS AND TAXATION
6 ST PAUL ST #11
BALTIMORE MD 21202

Diane Reed
5568 Lexington Dr.
Hilliard, OH 43026
